              Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 1 of 64



 1
   BRIAN J. STRETCH (CABN 163973)
 2 Acting United States Attorney

 3 BARBARA J. VALLIERE (DCBN 439353)
   Chief, Criminal Division
 4
   PHILIP J. KEARNEY (CABN 114978)
 5 SHIAO LEE (CABN 257413)
   Assistant United States Attorneys
 6
          450 Golden Gate Avenue, Box 36055
 7        San Francisco, California 94102-3495
          Telephone:
 8        Fax: (415) 436-6982
          E-mail:
 9
   Attorneys for United States of America
10

11
                                 UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                     SAN FRANCISCO DIVISION
14

15   UNITED STATES OF AMERICA,                   ) No. CR 16-00107 HSG
                                                 )
16           Plaintiff,                          )
                                                 ) GOVERNMENT’S EXHIBIT LIST
17      v.                                       )
                                                 )
18   JAMES PHILIP LUCERO                         )
                                                 )
19           Defendant.                          )
                                                 )
20

21

22

23

24

25

26

27

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                             1
              Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 2 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         1      Regional Map, SF Bay                             JL-033151
 3

 4       2      Study Area Location Map, Newark, Ca.             JL-033152
 5
         3      Map of filled areas prepared by H.T. Harvey &    JL-000243
 6              Associates
 7       4      Daniel Miller drawing of dumping activity in     JL-038459
                Northern Fill Area
 8
         5      Daniel Miller drawing of his (second) position   JL-038460
 9              on levee when dumping activity ongoing, near
                southern wetland
10       6      Photograph of tire tracks and dumping debris,    JL-038462
                North Fill Area, 2014
11
         7      Photograph of dump debris, vegetation,           JL-038464
12              corrugated fence near Northern Fill Area,
                August/September 2014
13       8      Photograph of dumped debris, tire tracks,        JL-038466
                Northern Fill Area, facing northeast,
14              August/September 2014
         9      Photograph of dumped debris, vegetation,         JL-038532
15              North Fill Area, facing corrugated fence,
                August/September 2014
16       10     Photograph of dumped debris, vegetation,         JL-038533
                North Fill Area, facing northwest,
17              August/September 2014
         11     Photograph of dumped debris, vegetation,         JL-038534
18              North Fill Area, facing west,
                August/September 2014
19       12     Satellite photograph of North Fill Area with     JL-038468
20              Daniel Miller outline of dumping.

21       13     Satellite photograph of North Fill Area with     JL-038472
                Daniel Miller outline of dumping
22
         14     Satellite photograph of North Fill Area, March   JL-038443
23              2017

24       15     September 6, 2014 email from “Derell Licht”      JL-038478
                regarding dumping in wetlands
25
         16     September 6, 2014 email from Carin High          JL-038478-
26              documenting dumping activity with map of         038480
                Newark Area 4
27       17     Study Area Surface water Connection Map          JL-033181

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               2
              Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 3 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         18     Citizens Committee To Complete The Refuge       JL-035894-
 3              letter and attachments, September 8, 2014       035909
 4       19     Frank Delfino photographs of Mowry Slough       JL-038408-
                and wetlands, February 7, 1997                  038409
 5
         20     Email dated 11/18/16 from Carin High to         JL-021746 -
 6              Special Agent Wendy Su, including photos.       021751
 7       21     CCCR photograph of fill material dumped in      JL-021748
                northern area.
 8
         22     CCCR photographs of fill material dumped in     JL-021749
 9              northern area.
10       23     CCCR photographs of fill material dumped in     JL-021750
                Northern Section of Area 4 and of undisturbed
11              wetland immediately west of the fill (Figure
                13).
12
         24     Newark PD call for service video, 9/8/2014      JL-038908
13

14       25     Newark PD photo-lineup admonition form          JL-039334
                (Hamidi)
15
         26     Newark PD photographic line-up (Hamidi)         JL-039342
16

17       27     Tim Steele email to Newark Partners, 9/11/14    JL-001710
18
         28     U.S. Army Corps of Engineers letter to Mr.      JL-000002-
19              Tim Steele, October 11, 2017 (Jurisdictional    000004
                Determination)
20       29     Verified JD Map: ID of waters of the U.S.,      JL-000401
21              Newark Areas 3 & 4

22       30     Email to Sgt. Vince Kimbrough, NPD,             JL-001857
                September 12, 2014
23
         31     Map of fill area, H.T. Harvey & Associates      JL-000008
24

25       32     Email from James Lucero to Tim Steele,          JL-013400-
                September 19, 2014                              013422
26
         33     Email from Patrick Bousier to Tim Steele,       JL-001719-
27              including attached photos                       001742

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               3
              Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 4 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         34     Photograph of electric pump                      JL-010202
 3

 4       35     Faxed note from James Lucero                     JL-001703-
                                                                 001704
 5
         36     Tim Steele communications re leak in tideflex    JL-022848-
 6              valve, January 28, 2008                          022850
 7       37     H.T. Harvey & Associates Newark Areas 3          JL-009826-
                and 4 Preliminary Delineation of Wetlands and    010046
 8              Other Waters, June 20, 2007
 9       38     ‘Pull tags’                                      JL-022886-
                                                                 023465
10
         39     Letter to Tim Steele from U.S. Army Corps of     JL-002363-
11              Engineers, January 28, 2015f re removing         002367
                unauthorized fill, including maps
12
         40     Photograph of bulldozer on property, 9/8/14      JL-001998
13

14       41     Photograph of “Ten Wheeler” dump truck           JL-004388
15
         42     Photograph of “End Dump” truck                   JL-004422
16

17       43     Photograph of “Super Dump” truck                 JL-004423
18
         44     FBI chain of custody re padlock and cut link     JL-038925-
19                                                               038926
20       45     Padlock and cut link (to be produced in court)
21

22       46     John M. Sobrato signature card                   JL-033917

23
         47     Newark Specific Plan Property Ownership          JL-002474
24              Diagram

25       48     Map of Newark Area 3 & 4 ownership               JL-038929

26
         49     H.T. Harvey Newark Areas 3 and 4 map with        JL-036888
27              drawings by Mike Siri, 7/21/17

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               4
              Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 5 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         50     PG&E bills for electric pump                     JL-033732-
 3                                                               033773
 4       51     Accounting log of costs associated with          JL-033953-
                maintenance and repair costs of electric pump,   033955
 5              payments made re pump
         52     Kevin Olivero proffer letter, 8/21/2015          JL-002392-
 6                                                               002393
 7       53     Map with red markings, 8/21/15                   JL-002394
 8
         54     Golden Gate Equipment LLC check, paid to         JL-005127
 9              Economy Waste Solutions, 8/26/14
10       55     Golden Gate Equipment LLC invoice to             JL-005128-
                Alviso Rock, 8/22/14                             005129
11
         56     Chase Bank Records for Golden Gate               JL-032762-
12              Equipment Rentals, 5/31/14-1-/31/14              032917
13       57     Telephone call analysis between Kevin Olivero JL-004856-
                and James Lucero, supporting call detail      004872
14              records.
         58     Employment contract, Golden Gate Equipment JL-005126
15              Rentals, September 2014
16       59     ‘Pull tag’ with handwriting of Kevin Olivero,    JL-022916
                8/27/14
17
         60     ‘Pull tag’ with handwriting of Kevin Olivero,    JL-023121
18              8/25/14
19       61     ‘Pull tag’ with handwriting of Kevin Olivero,    JL-023212
20              8/25/14

21       62     ‘Pull tag’ with handwriting of Kevin Olivero,    JL-023214
                8/25/14
22
         63     ‘Pull tag’ with handwriting of Kevin Olivero,    JL-023215
23              8/25/14

24       64     ‘Pull tag’ with handwriting of Kevin Olivero,    JL-023217
                8/25/14
25
         65     ‘Pull tag’ with handwriting of Kevin Olivero,    JL-023218
26              8/25/14

27       66     ‘Pull tag’ with handwriting of Kevin Olivero,    JL-023919
                8/25/14
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               5
              Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 6 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         67     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023220
 3              8/25/14
 4       68     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023221
                8/25/14
 5
         69     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023222
 6              8/25/14
 7       70     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023223
                8/25/14
 8
         71     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023224
 9              8/25/14
10       72     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023225
                8/25/14
11
         73     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023226
12              8/25/14
13       74     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023227
                8/25/14
14
         75     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023228
15              8/25/14
16       76     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023229
                8/25/14
17
         77     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023230
18              8/25/14
19       78     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023231
20              8/25/14

21       79     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023232
                8/25/14
22
         80     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023233
23              8/25/14

24       81     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023234
                8/25/14
25
         82     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023235
26              8/25/14

27       83     ‘Pull tag’ with handwriting of Kevin Olivero,   JL-023236
                8/25/14
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               6
               Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 7 of 64



 1    Number                      Description                       Bates Range   Offered   Admitted
 2
         84      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-022924
 3               8/27/14
 4       85      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-022925
                 8/27/14
 5
         86      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-013074
 6               8/27/14
 7       87      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-022948
                 8/25/14
 8
         88      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-022949
 9               8/25/14
10       89      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-022950
                 8/25/14
11
         90      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-029951
12               8/25/14
13       91      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-022953
                 8/25/14
14
         92      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-013048
15               8/25/14
16       93      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-013049
                 8/25/14
17
         94      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-013050
18               8/25/14
19       95      ‘Pull tag’ with handwriting of Kevin Olivero,    JL-013051
20               8/25/14

21       96      Creative Security Company Patrol Logs            JL-004709-
                                                                  004718
22
         97      Surveillance Log. 9/17/14, Chuck Wall            JL-004706-
23                                                                004707

24       98      Chuck Wall 9/25/14 email to Tim Steele with      JL-001707-
                 patrol log of documenting activity on 9/24/14    001708
25
         99      FBI chain of custody form re fingerprint lift    JL-038927-
26               card                                             038928

27       100     Harbison photograph of dumped fill material,     JL-000054
                 South Fill Area, north of Tributary A, October
28               17, 2014.

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                                 7
               Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 8 of 64



 1    Number                      Description                       Bates Range   Offered   Admitted
 2
         101     Harbison photograph of dumped fill material,     JL-000055
 3               South Fill Area, north of Tributary A, October
                 17, 2014,
 4
         102     Harbison photographs of dumped fill material,    JL-000056
 5               South Fill Area, north of Tributary A, October
                 17, 2014,
 6
         103     Harbison photographs of dumped fill material,    JL-000057
 7               south fill area, north of Tributary A, October
                 17, 2014.
 8
         104     Harbison photographs of dumped fill material,    JL-000059
 9               south fill area, north of Tributary A, October
                 17, 2014.
10
         105     Harbison photographs of dumped fill material,    JL-000060
11               south fill area, north of Tributary A, October
                 17, 2014.
12
         106     Harbison photographs of dumped fill material,    JL-000067
13               South fill area, southwest toward Tributary A,
                 October 17, 2014.
14
         107     Harbison photographs of dumped fill material,    JL-000071
15               South fill area, facing south toward Tributary
                 A, October 17, 2014.
16
         108     Harbison photographs of dumped fill material,    JL-000082
17               October 17, 2014.
                 South fill area, view facing west.
18       109     Harbison photographs of dumped fill material,    JL-000083
                 October 17, 2014.
19               Construction debris detail among fill dumped
                 in south fill.
20       110     Harbison photographs of dumped fill material,    JL-000085
                 October 17, 2014.
21               South fill area.
         111     Harbison photographs of dumped fill material,    JL-000091
22               October 17, 2014.
                 South fill area.
23       112     Harbison photographs of dumped fill material,    JL-000105
24               October 17, 2014.
                 South fill area.
25       113     Harbison photographs of dumped fill material,    JL-000107
                 October 17, 2014.
26               South fill debris.
         114     Harbison photographs of dumped fill material,    JL-000113
27               October 17, 2014.
                 South fill facing Tributary A.
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                                8
               Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 9 of 64



 1    Number                       Description                       Bates Range   Offered   Admitted
 2
         115     Harbison photographs of dumped fill material,     JL-000138
 3               October 17, 2014.
                 South fill area.
 4       116     Harbison photographs of dumped fill material,     JL-000162
                 October 17, 2014
 5               South fill area.
         117     Harbison photographs of dumped fill material,     JL-000165
 6               October 17, 2014.
                 South fill area adjacent to Tributary A.
 7       118     Harbison photographs of dumped fill material,     JL-000166
                 October 17, 2014.
 8               South fill area adjacent to Tributary A.
         119     Harbison photographs of dumped fill material,     JL-000169
 9               October 17, 2014.
                 South fill debris.
10       120     Harbison photographs of dumped fill material,     JL-000171
                 October 17, 2014.
11               Tributary A, adjacent to south fill area.
         121     Harbison photographs of dumped fill material,     JL-000172
12               October 17, 2014.
                 South fill area, adjacent to Tributary A.
13       122     Handwritten letter from James Lucero to           JL-002193-
                 ‘Shelly’                                          002194
14
         123     Handwritten letter from James Lucero to           JL-002195-
15               ‘Shelly’                                          002196
16       124     Chain of Custody Record, conduit box,             JL-036733-
                 asphalt, 2/15/17                                  036734
17
         125     Electrical conduit box with paint (to be
18               produced in court)
19       126     Chunk of asphalt (to be produced in court)
20

21       127     Su aerial photograph of dumped fill material,     JL-000249
                 October 8, 2014.
22               North fill area, north of Tributary 1.
         128     Su aerial photograph of dumped fill material,     JL-000250
23               October 8, 2014.
                 Slightly northeast of prior exhibit. North fill
24               area, north of Tributary 1.
         129     Su aerial photograph of dumped fill material,     JL-000266
25               October 8, 2014.
                 North fill area, adjacent to north end of
26               Tributary 1.
         130     Su aerial photograph of dumped fill material,     JL-000267
27               October 8, 2014.
                 North fill area, near northeast portion of
28               Tributary 1.

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                                  9
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 10 of 64



 1    Number                     Description                        Bates Range   Offered   Admitted
 2
         131    Su aerial photograph of dumped fill material,     JL-000270
 3              October 8, 2014.
                East of Mowry Slough, midway between north
 4              fill and south fill.
         132    Su aerial photograph of dumped fill material,     JL-000276
 5              October 8, 2014.
                East of stormwater treatment ponds, north fill.
 6       133    Su aerial photograph of dumped fill material,     JL-000277
                October 8, 2014.
 7              North of Tributary 1, west of north fill.
 8       134    Su aerial photograph of dumped fill material,     JL-000281
                October 8, 2014.
 9              North fill, east of north stormwater treatment
                pond,
10       135    Su aerial photograph of dumped fill material,     JL-000300
                October 8, 2014.
11              View is facing south, lower edge of photo
                depicts south edge of north fill.
12       136    Su aerial photograph of dumped fill material,     JL-000307
                October 8, 2014.
13              View is facing east, depicting north fill and
                Tributary 1.
14       137    Su aerial photograph of dumped fill material,     JL-000308
                October 8, 2014.
15              View is facing east, depicting north fill and
                Tributary 1.
16       138    Su aerial photograph of dumped fill material,     JL-000323
                October 8, 2014.
17              West edge if south fill, immediately north of
                Tributary A.
18       139    Su aerial photograph of dumped fill material,     JL-000324
                October 8, 2014.
19              West edge of south fill, north of Tributary A.
         140    Su aerial photograph of dumped fill material,     JL-000326
20              October 8, 2014.
                West of south fill.
21       141    Su aerial photograph of dumped fill material,     JL-000329
                October 8, 2014.
22              South fill area, north of Tributary A.
         142    Su aerial photograph of dumped fill material,     JL-000330
23
                October 8, 2014.
24              South fill area, north of Tributary A.
         143    Su aerial photograph of dumped fill material,     JL-000331
25              October 8, 2014.
                South fill area, north of Tributary A.
26       144    Su aerial photograph of dumped fill material,     JL-000332
                October 8, 2014.
27              West of the west edge of south fill area.
         145    Su aerial photograph of dumped fill material,     JL-000333
28              October 8, 2014.

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               10
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 11 of 64



 1    Number                      Description                        Bates Range   Offered   Admitted
 2
                Area west of south fill area, also depicts
 3              Mowry Slough and Tributary A,
 4       146    Su aerial photograph of dumped fill material,      JL-000349
                October 8, 2014.
 5              Bottom edge of photo depicts west edge of
                south fill area, view faces west and depicts
 6              U.S. waterways towards the bay.
         147    Su aerial photograph of dumped fill material,      JL-000350
 7              October 8, 2014.
                Direction of complex U.S. waters adjacent to
 8              south fill area.
         148    Su aerial photograph of dumped fill material,      JL-000361
 9              October 8, 2014.
                North fill area, east of stormwater treatment
10              ponds.
         149    Su aerial photograph of dumped fill material,      JL-000367
11              October 8, 2014.
                North fill, at Tributary 1 (right angle).
12       150    Su aerial photograph of dumped fill material,      JL-000368
                October 8, 2014
13              North fill area, at Tributary 1.
         151    Su aerial photograph of dumped fill material,      JL-000370
14              October 8, 2014.
                North fill area, adjacent to north stormwater
15              treatment pond.
         152    Harbison aerial photograph of dumped fill          JL-000402
16              material, October 8, 2014.
                North fill area adjacent to Tributary 1.
17       153    Harbison aerial photograph of dumped fill          JL-000405
                material, October 8, 2014.
18              North fill area adjacent to Tributary 1.
         154    Harbison aerial photograph of dumped fill          JL-000406
19              material, October 8, 2014.
                North fill area adjacent to Tributary 1.
20       155    Harbison aerial photograph of dumped fill          JL-000410
                material, October 8, 2014.
21              North fill area as it runs north to Mowry Ave.
         156    Harbison aerial photograph of dumped fill          JL-000415
22
                material, October 8, 2014.
23              North fill area, from view facing west toward
                Mowry Slough.
24       157    Harbison aerial photograph of dumped fill          JL-000417
                material, October 8, 2014.
25              South portion of north fill, view is facing
                southwest toward Tributary 1 and Mowry
26              Slough.
         158    Harbison aerial photograph of dumped fill          JL-000420
27              material, October 8, 2014.
                Facing south toward Tributary 1, south portion
28              of north fill is depicted on left edge of photo.

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                                11
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 12 of 64



 1    Number                     Description                        Bates Range   Offered   Admitted
 2
         159    Harbison aerial photograph of dumped fill         JL-000422
 3              material, October 8, 2014.
                Facing south toward Tributary 1, Mowry
 4              Slough and SF Bay. South area of north fill
                and the south fill in upper left quadrant of
 5              photo.
         160    Harbison aerial photograph of dumped fill         JL-000425
 6              material, October 8, 2014.
                View facing east from west of Mowry Slough,
 7              depicts north fill, south fill, Tributary 1 and
                Tributary A.
 8       161    Harbison aerial photograph of dumped fill         JL-000441
                material, October 8, 2014.
 9              View facing east toward Mowry Slough,
                Tributary A, and south fill.
10       162    Harbison aerial photograph of dumped fill         JL-000442
                material, October 8, 2014.
11              View facing east toward Mowry Slough,
                Tributary A, and south fill.
12       163    Harbison aerial photograph of dumped fill         JL-000444
                material, October 8, 2014.
13              View facing northeast, from south of Tributary
                A, depicting south fill in upper right quadrant
14              of photo.
         164    Harbison aerial photograph of dumped fill         JL-000451
15              material, October 8, 2014.
16       165    Harbison aerial photograph of dumped fill         JL-000456
                material, October 8, 2014.
17              View facing northwest, from southeast of
                south fill, depicting south fill, north fill,
18              Tributary A, Tributary 1, and Mowry Slough.
         166    Harbison aerial photograph of dumped fill         JL-000461
19              material, October 8, 2014.
                North fill and Tributary 1.
20       167    Harbison aerial photograph of dumped fill         JL-000453
                material, October 8, 2014.
21              North fill.
         168    Ryan Amaya CV                                     JL-022884
22

23       169    Kier & Wright Aerial Photogrammatic map           JL-023710
                “Area 4”
24
         170    Kier & Wright Aerial Photogrammatic map           JL-023711
25
                “Overall”
26
         171    Kier & Wright Aerial Exhibit “North Fill          JL-023712
27              Area”

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               12
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 13 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         172    Kier & Wright Aerial Exhibit “Overall”          JL-023713
 3

 4       173    Kier & Wright Aerial Exhibit “South Fill        JL-023714
                Area”
 5
         174    Kier & Wright Topographical Exhibit             JL-023715
 6              “Detail Area”
 7       175    Kier & Wright North Fill Area Topographical     JL-023716
                Exhibit
 8
         176    Kier & Wright Overall Topographical Exhibit     JL-023717
 9
10       177    Kier & Wright South Fill Area Topographical     JL-023718
                Exhibit
11
         178    Martel Wetland Determination Data Forms—        JL-000381-398
12              Arid West Region, August 2007
13       179    Martel Note to File, 19 Sept 2007.              JL-000399-400
14
         180    Martel Field Map, August 14, 2007               JL-002420
15

16       181    Patrick Boursier, CV.                           JL-021753
17
         182    Newark Specific Plan Area 4 Biotic              JL-022691-
18              Constraints and Opportunities Analysis,”        022726
                August 9, 2002
19       183    Newark General Plan Areas 3 & 4 Biotic          JL-022730-
20              Constraints and Opportunities Analysis,”        022765
                November 3, 2006
21       184    Draft Environmental Impact Report—Newark        JL-020518-
                Areas 3 and 4 Specific Plan Project, December   020906,
22              2009, including Appendix A (Vascular Plants     JL-019014-
                of Newark Specific Plan Areas 3 and 4)          019076
23       185    Newark Areas 3 & 4 Specific Plan Draft          JL-018866-
                Environmental Impact Report Biological          019013
24              Resources Technical Report,” April 10, 2009
         186    Newark Specific Plan Conceptive Grading &       JL-019334
25              Drainage Diagram

26       187    H.T. Harvey photograph of Mowry Slough          JL-013972
                facing north, December 19, 2006
27
         188    H.T. Harvey photograph of confluence of  JL-013977
28              Mowry Slough and Alameda County Drainage
                Channel, facing south, December 19, 2006
     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                                 13
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 14 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         189    H.T. Harvey photograph of drainage culvert,     JL-013983
 3              December 19, 2006
 4       190    H.T. Harvey photograph of ponds in southern     JL-013987
                wetland area, December 19, 2006
 5
         191    H.T. Harvey photograph of southern wetland      JL-013983
 6              area, December 19, 2006
 7       192    H.T. Harvey photograph of drainage culvert,     JL-013991
                December 19, 2006
 8
         193    H.T. Harvey photograph of Tributary B,          JL-013993
 9              December 19, 2006
10       194    H.T. Harvey photograph of ponding in            JL-014386
                northern wetland, March 20, 2007
11
         195    H.T. Harvey photograph of ponding in            JL-014387
12              northern wetland, facing west, March 20, 2007
13       196    H.T. Harvey photograph of ponding in            JL-014388
                northern wetland, waterfowl, March 20, 2007
14
         197    H.T. Harvey photograph of ponding in            JL-014397
15              Northern Fill Area, March 20, 2007
16       198    H.T. Harvey photograph of ponding in western    JL-014399
                edge of Northern Fill Area, March 20, 2007
17
         199    H.T. Harvey photograph of Tributary 1, March    JL-014402
18              20, 2007
19       200    H.T. Harvey photograph of Tributary 1 culvert, JL-014405
20              March 20, 2007

21       201    H.T. Harvey photograph of ponding in            JL-014426
                southern wetland, March 20, 2007
22
         202    H.T. Harvey photograph of ponding in            JL-014427
23              southern wetland, facing east, March 20, 2007

24       203    H.T. Harvey photograph of ponding in         JL-014429
                southern wetland, facing north, March 20,
25              2007
         204    H.T. Harvey photograph of Tributary B, March JL-014440
26              20, 2007

27       205    H.T. Harvey photograph of Tributary B, facing   JL-014445
                south, March 20, 2007
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              14
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 15 of 64



 1    Number                    Description                       Bates Range   Offered   Admitted
 2
         206    H.T. Harvey photograph of Southern Fill Area,   JL-013956
 3              facing north, September 9, 2014
 4       207    H.T. Harvey photograph of Southern Fill Area,   JL-013958
                facing southeast, September 9, 2014
 5
         208    H.T. Harvey photograph of Northern Fill Area,   JL-013962
 6              facing west, September 9, 2014
 7       209    H.T. Harvey photograph of Northern Fill Area,   JL-013963
                facing northwest, September 9, 2014
 8
         210    H.T. Harvey photograph of Northern Fill Area,   JL-013964
 9              facing north, September 9, 2014
10       211    H.T. Harvey photograph of Northern Fill Area,   JL-013965
                facing northeast, September 9, 2014
11
         212    H.T. Harvey photograph of Northern Fill Area,   JL-013966
12              facing east, September 9, 2014
13       213    H.T. Harvey photograph of western edge of       JL-013967
                Northern Fill Area, facing west, September 9,
14              2014
         214    H.T. Harvey photograph of Northern Fill Area,   JL-013968
15              facing north, September 9, 2014
16       215    H.T. Harvey photograph of Northern Fill Area,   JL-013969
                facing north, September 9, 2014
17
         216    H.T. Harvey photograph of Northern Fill Area,   JL-013970
18              facing northeast, September 9, 2014
19       217    H.T. Harvey photograph of Northern Fill Area,   JL-013971
20              facing east, September 9, 2014

21       218    H.T. Harvey photograph of northern wetland      JL-014020
                area, March 26, 2015
22
         219    H.T. Harvey photograph of northern wetland      JL-014024
23              area and ponding near culvert, March 26, 2015

24       220    H.T. Harvey photograph of northern wetland      JL-014035
                area and ponding near levee, March 26, 2015
25
         221    H.T. Harvey photograph of Northern Fill Area,   JL-014044
26              ponding, waterfowl, March 26, 2015

27       222    H.T. Harvey photograph of northern wetland      JL-014047
                area and Tributary 1, March 26, 2015
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                             15
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 16 of 64



 1    Number                    Description                      Bates Range   Offered   Admitted
 2
         223    H.T. Harvey photograph of northern wetland,    JL-014048
 3              Tributary 1, facing west, March 26, 2015
 4       224    H.T. Harvey photograph of northern wetland,    JL-014048
                Tributary 1, and levee ponding, March 26,
 5              2015
         225    Kelly Hardwicke CV                             JL-021771
 6

 7       226    Corps of Engineers Wetlands Delineation        JL-038099-
                Manual                                         038241
 8
         227    Regional Supplement to the Corps of            JL-038242-
 9              Engineers Wetland Delineation Manual: Arid     038376
                West Region (Version 2.0)
10
         228    2008 EPA/Army Corps Rapanos Guidance           JL-033203-
11                                                             033215
12       229    Soil Survey of Alameda County, Western Part,   JL-009862-
                1975 (Soil Conservation Service)               009885
13
         230    U.S. Geological Survey Quadrangle Map          JL-009833
14              (Figure 2 from Harvey’s Preliminary
                Delineation)
15
         231    National Wetland Inventory Map (Figure 3       JL-009834
16              from Harvey’s Preliminary Delineation)
17       232    National Wetland Inventory Soils Map (Figure   JL-009835
                4 from Harvey’s Preliminary Delineation)
18
         233    Map of historic slough channels (Figure 5 from JL-009849
19              Harvey’s Preliminary Delineation)
20       234    Map of Sampling and Trend Points, April 2007 JL-009850
21              (Figure 5 from Harvey’s Preliminary
                Delineation)
22
         235    Plants Observed (Appendix A to Harvey’s        JL-009859-
23              Preliminary Delineation)                       009860

24       236    Wetland Determination Data Forms (Appendix     JL-009888-
                C to Harvey’s Preliminary Delineation)         010045
25
         237    Wetland Determination Data Form for            JL-009890-
26              Sampling Point 2                               009891

27       238    Wetland Determination Data Form for            JL-009891-
                Sampling Point 3                               009893
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                             16
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 17 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         239    Wetland Determination Data Form for             JL-009894-
 3              Sampling Point 4                                009895
 4       240    Wetland Determination Data Form for             JL-009934-
                Sampling Point 24                               009935
 5
         241    Wetland Determination Data Form for             JL-009936-
 6              Sampling Point 25                               009937
 7       242    Wetland Determination Data Form for             JL-009938-
                Sampling Point 26                               009939
 8
         243    Wetland Determination Data Form for             JL-009986-
 9              Sampling Point 50                               009987
10       244    Wetland Determination Data Form for             JL-009988-
                Sampling Point 51                               009989
11
         245    Wetland Determination Data Form for             JL-009990-
12              Sampling Point 52                               009991
13       246    Wetland Determination Data Form for             JL-009992-
                Sampling Point 53                               009993
14
         247    Photographic Monitoring of 3 Representative     JL-010046
15              Wetlands at 5 Monitoring Dates in 2007
                (Appendix D to Harvey’s Preliminary
16              Delineation)
17       248    Field Notes, 2/13/07                            JL-015876
18
         249    Field Notes, 3/6/07                             JL-015877
19

20       250    H.T. Harvey photograph of ponded area near      JL-015163
21              culvert, facing east, January 18, 2007

22       251    H.T. Harvey photograph of ponded area in        JL-015164
                southern wetland, facing south January 18,
23              2007
         252    H.T. Harvey photograph of ponded area in        JL-015167
24              southern wetland, facing east, January 18,
                2007
25       253    H.T. Harvey photograph of Tributary B, facing   JL-015178
                east January 18, 2007
26
         254    H.T. Harvey photograph of Tributary A, facing JL-015179
27              south, January 18, 2007

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                             17
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 18 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         255    H.T. Harvey photograph of ponding in             JL-015196
 3              Northern Fill Area, January 18, 2007
 4       256    H.T. Harvey photograph of ponded area in         JL-015163
                southern wetland, facing south January 18,
 5              2007
         257    H.T. Harvey photograph of ponded area in         JL-015020
 6              southern wetland, facing south February 13,
                2007
 7       258    H.T. Harvey photograph of ponded area near       JL-015022
                Tributary 1, February 13, 2007
 8
         259    H.T. Harvey photograph of ponded area near       JL-015023
 9              culvert, facing east February 13, 2007
10       260    H.T. Harvey photograph of ponded area near       JL-015025
                culvert, facing northeast, February 13, 2007
11
         261    H.T. Harvey photograph of ponded area in         JL-015033
12              Tributary 1, facing east, February 13, 2007
13       262    H.T. Harvey photograph of ponding in             JL-015035
                Northern Fill Area, facing east February 13,
14              2007
         263    H.T. Harvey photograph of ponding in             JL-015036
15              Northern Fill Area, facing northeast, February
                13, 2007
16       264    H.T. Harvey photograph of ponding in             JL-015041
                Northern Fill Area, facing west, February 13,
17              2007
         265    H.T. Harvey photograph of ponded area in         JL-015044
18              southern wetland, waterfowl, facing south
                February 13, 2007
19       266    H.T. Harvey photograph of ponded area in         JL-015046
20              southern wetland, waterfowl, facing south
                February 13, 2007
21       267    H.T. Harvey photograph of Tributary B, facing    JL-015061
                southeast, February 13, 2007
22
         268    H.T. Harvey photograph of Tributary A, facing JL-015063
23              south, February 13, 2007

24       269    H.T. Harvey photograph of Tributary A, facing JL-015064
                southeast, February 13, 2007
25
         270    H.T. Harvey photograph of ponding in             JL-015225
26              Northern Fill Area, facing east February 23,
                2007
27       271    H.T. Harvey photograph of Tributary B, facing    JL-015259
                east, February 23, 2007
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               18
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 19 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         272    H.T. Harvey photograph of Tributary A, facing JL-015261
 3              northeast, February 23, 2007
 4       273    H.T. Harvey photograph of Tributary A, facing JL-015264
                west, February 23, 2007
 5
         274    H.T. Harvey photograph of Tributary A, facing JL-015267
 6              south, February 23, 2007
 7       275    H.T. Harvey photograph of Tributary A, facing JL-015284
                north, February 23, 2007
 8
         276    H.T. Harvey photograph of ponding in            JL-014704
 9              Northern Fill Area, March 6, 2007
10       277    H.T. Harvey photograph of ponding near          JL-014715
                culvert, facing east, March 6, 2007
11
         278    H.T. Harvey photograph of ponding in            JL-014759
12              Tributary 1 area, March 6, 2007
13       279    H.T. Harvey photograph of ponding in            JL-014760
                Tributary 1 area, facing northeast, March 6,
14              2007
         280    H.T. Harvey photograph of ponding near          JL-014761
15              culvert, facing norther, March 6, 2007
16       281    H.T. Harvey photograph of Tributary A,          JL-014776
                March 6, 2007
17
         282    H.T. Harvey photograph of Tributary A, facing JL-014877
18              south, March 6, 2007
19       283    H.T. Harvey photograph of Tributary A, facing JL-014897
20              north, March 6, 2007

21       284    H.T. Harvey photograph of Tributary B, March JL-014975
                6, 2007
22
         285    H.T. Harvey photograph of Tributary B, facing   JL-014982
23              southeast March 6, 2007

24       286    H.T. Harvey photograph of Tributary A, facing JL-014983
                southwest March 6, 2007
25
         287    H.T. Harvey photograph of ponding near          JL-015449
26              culvert, March 27, 2007

27       288    H.T. Harvey photograph of ponding near          JL-015450
                culvert, facing norther, March 27, 2007
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               19
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 20 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         289    H.T. Harvey photograph of Tributary 1, facing   JL-015456
 3              north, March 27, 2007
 4       290    H.T. Harvey photograph of ponding near          JL-015457
                Northern Fill Area, facing north, March 27,
 5              2007
         291    H.T. Harvey photograph of ponding near          JL-015459
 6              Northern Fill Area, March 27, 2007
 7       292    H.T. Harvey photograph of ponding in            JL-015462
                northern wetland, March 27, 2007
 8
         293    H.T. Harvey photograph of Tributary A,          JL-015494
 9              March 27, 2007
10       294    H.T. Harvey photograph of Tributary A, facing JL-015495
                south, March 27, 2007
11
         295    H.T. Harvey photograph of ponding in            JL-015346
12              Northern Fill Area, April 24, 2007
13       296    H.T. Harvey photograph of Tributary 1, facing JL-015368
                northeast, April 24, 2007
14
         297    H.T. Harvey photograph of ponding near          JL-015370
15              culvert, facing north, April 24, 2007
16       298    H.T. Harvey photograph of ponding in            JL-015371
                southern wetland area, April 24, 2007
17
         299    H.T. Harvey photograph of Tributary A, April    JL-015377
18              24, 2007
19       300    H.T. Harvey photograph of Tributary A, facing JL-015378
20              east, April 24, 2007

21       301    Wetland Indicator Status Categories for         JL-009838
                Vascular Plants Table (Table 1 from Harvey’s
22              Preliminary Delineation)

23       302    Summary of Jurisdictional Waters Table          JL-009841
                (Table 2 from Harvey’s Preliminary
24              Delineation)

25       303    H.T. Harvey photograph of North Fill Area,      JL-013619
                January 21, 2015
26
         304    H.T. Harvey photograph of North Fill Area       JL-013620
27              and levee, January 21, 2015

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              20
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 21 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         305    H.T. Harvey photograph of Alameda County         JL-013622
 3              Drainage Channel, January 21, 2015
 4       306    H.T. Harvey photograph of ponding in North       JL-013626
                Fill Area, January 21, 2015
 5
         307    H.T. Harvey photograph of North Fill Area        JL-013629
 6              and levee erosion, January 21, 2015
 7       308    H.T. Harvey photograph of North Fill Area,       JL-013631
                wetland, and levee erosion, January 21, 2015
 8
         309    H.T. Harvey photograph of levee breach near      JL-013634
 9              North Fill Area, January 21, 2015
10       310    H.T. Harvey photograph of levee breach           JL-013636
                looking south toward drainage channel,
11              January 21, 2015
         311    H.T. Harvey photograph of levee breach and       JL-013642
12              drainage channel, January 21, 2015
13       312    H.T. Harvey photograph of Tributary 1,           JL-013649
                January 21, 2015
14
         313    H.T. Harvey photograph of western part of        JL-013657
15              Tributary A, facing southwest January 21,
                2015
16       314    H.T. Harvey photograph of southern area,         JL-013659
                Tributary A, facing south, January 21, 2015
17
         315    H.T. Harvey photograph of southern area,         JL-013660
18              Tributary A, facing southeast, January 21,
                2015
19       316    H.T. Harvey photograph of southern area,         JL-013661
20              Tributary A, facing southeast January 21, 2015

21       317    H.T. Harvey photograph of Tributary B,           JL-013664
                January 21, 2015
22
         318    H.T. Harvey photograph of Tributary B and        JL-013665
23              southern wetlands, January 21, 2015

24       319    H.T. Harvey photograph of Tributary B, levee,    JL-013667
                and southern wetlands, January 21, 2015
25
         320    H.T. Harvey photograph of Tributary B and        JL-013674
26              southern wetlands, facing east, January 21,
                2015
27       321    H.T. Harvey photograph of Tributary B and        JL-013676
                southern wetlands, facing SE, January 21,
28              2015

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              21
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 22 of 64



 1    Number                     Description                        Bates Range   Offered   Admitted
 2
         322    H.T. Harvey photograph of Tributary B and         JL-013679
 3              electric pump, January 21, 2015
 4       323    H.T. Harvey photograph of Mowry Slough and        JL-013685
                electric pump dispersal pipe, January 21, 2015
 5
         324    H.T. Harvey photograph of dispersal pipe,         JL-013687
 6              January 21, 2015
 7       325    H.T. Harvey photograph of Tributary 1 and         JL-013706
                culvert, February 11, 2015
 8
         326    H.T. Harvey photograph of Tributary 1 and         JL-013709
 9              northern wetlands, February 11, 2015
10       327    H.T. Harvey photograph of Northern wetland        JL-013714
                from levee, February 11, 2015
11
         328    H.T. Harvey photograph of Mowry Slough and        JL-013716
12              drainage channel confluence, February 11,
                2015
13       329    H.T. Harvey photograph of Mowry Slough and        JL-013721
                “duck bill” outflow pipe, February 11, 2015
14
         330    H.T. Harvey photograph of pond in southern        JL-013724
15              area, February 11, 2015
16       331    H.T. Harvey photograph of Alameda County          JL-013727
                drainage channel facing east, February 11,
17              2015
         332    H.T. Harvey photograph of Mowry Slough            JL-013730
18              downstream of culvert, February 11, 2015
19       333    H.T. Harvey photograph of vegetation south of     JL-013733
20              drainage channel, February 11, 2015

21       334    H.T. Harvey photograph of southern ponded         JL-013736
                area, Mowry Slough, and intervening levee,
22              February 11, 2015
         335    H.T. Harvey photograph of vegetation              JL-013744
23              surrounding southern ponded area, February
                11, 2015
24       336    H.T. Harvey photograph of vegetation              JL-013746
                surrounding southern ponded area, facing
25              south, February 11, 2015
         337    H.T. Harvey photograph of vegetation              JL-013748
26              surrounding southern ponded area and levee,
                facing south, February 11, 2015
27       338    H.T. Harvey photograph of vegetation              JL-013759
                surrounding southern ponded area, and eastern
28              slope of levee, facing south, February 11, 2015

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               22
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 23 of 64



 1    Number                     Description                        Bates Range   Offered   Admitted
 2
         339    H.T. Harvey photograph of southern ponded         JL-013805
 3              area and waterfowl, facing south, February 11,
                2015
 4       340    H.T. Harvey photograph of Northern Fill Area      JL-013809
                with ponding, facing north, February 11, 2015
 5
         341    H.T. Harvey photograph of vegetation abutting     JL-013811
 6              drainage channel levee, facing east, February
                11, 2015
 7       342    H.T. Harvey photograph of southern wetland        JL-013833
                area from drainage channel level, facing
 8              southwest, February 11, 2015
         343    H.T. Harvey photograph of ponding in North        JL-013848
 9              Fill Area and Alameda County drainage
                channel, facing north, February 11, 2015
10       344    H.T. Harvey photograph of vegetation in           JL-013885
                southern wetland area, facing south, February
11              11, 2015
         345    H.T. Harvey photograph of sporadic ponding        JL-013892
12              in southern wetland area, facing southwest,
                February 11, 2015
13       346    H.T. Harvey photograph of ponding in              JL-013900
                Northern Fill Area, facing south, February 11,
14              2015
         347    H.T. Harvey photograph of ponding and             JL-013902
15              vegetation in Northern Fill Area, facing west,
                February 11, 2015
16       348    H.T. Harvey photograph of debris field in         JL-013909
                Northern Fill Area, facing west, February 11,
17              2015
         349    H.T. Harvey photograph of debris in Northern      JL-013911
18              Fill Area, facing south, February 11, 2015
19       350    H.T. Harvey photograph of debris and ponding      JL-013912
20              in Northern Fill Area, facing south, February
                11, 2015
21       351    H.T. Harvey photograph of debris field in         JL-013915
                Northern Fill Area, facing northwest, February
22              11, 2015
         352    H.T. Harvey photograph of debris, ponding         JL-013917
23              and furrows in Northern Fill Area, facing east,
                February 11, 2015
24       353    H.T. Harvey photograph of debris, furrows,        JL-013920
                and vegetation in Northern Fill Area, facing
25              southwest, February 11, 2015
         354    H.T. Harvey photograph of debris and              JL-013921
26              vegetation in Northern Fill Area, facing
                southwest, February 11, 2015
27       355    H.T. Harvey photograph of debris and              JL-013922
                corrugated fence in Northern Fill Area, facing
28              west, February 11, 2015

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               23
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 24 of 64



 1    Number                     Description                         Bates Range   Offered   Admitted
 2
         356    H.T. Harvey photograph of debris and ponding       JL-013926
 3              in Northern Fill Area, facing southeast,
                February 11, 2015
 4       357    H.T. Harvey photograph of debris and tall          JL-013929
                vegetation in Northern Fill Area, facing north,
 5              February 11, 2015
         358    H.T. Harvey photograph of ponding and              JL-013933
 6              vegetation in Northern Fill Area, facing south,
                February 11, 2015
 7       359    H.T. Harvey photograph of ponding and              JL-013937
                vegetation in Northern Fill Area, facing south
 8              east, February 11, 2015
         360    H.T. Harvey photograph of ponding and              JL-013941
 9              vegetation in Northern Fill Area, facing south,
                February 11, 2015
10       361    H.T. Harvey photograph of ponding and              JL-013942
                vegetation in Northern Fill Area, facing
11              southeast, February 11, 2015
         362    H.T. Harvey photograph of ponding and              JL-013950
12              wetland vegetation in Northern Fill Area,
                facing north, February 11, 2015
13       363    H.T. Harvey photograph of debris field and         JL-013953
                hydric soil in Northern Fill Area, facing north,
14              February 11, 2015
         364    H.T. Harvey photograph of ponding and              JL-013955
15              furrows in Northern Fill Area, facing west,
                February 11, 2015
16       365    H.T. Harvey photograph of levee break near         JL-014055
                Northern Fill Area, facing west, January 21,
17              2017
         366    H.T. Harvey photograph of levee break near         JL-014121
18              Northern Fill Area, facing east, January 21,
                2017
19       367    H.T. Harvey photograph of levee break near         JL-014129
20              Northern Fill Area, Tributary 1, facing
                northeast, January 21, 2017
21       368    H.T. Harvey photograph of levee break near         JL-014125
                Northern Fill Area, Tributary 1, and drainage
22              channel, facing northeast, January 21, 2017
         369    H.T. Harvey photograph of northern wetland         JL-014131
23              area and culvert ponding, January 21, 2017

24       370    H.T. Harvey photograph of northern wetland         JL-014055
                area and culvert ponding, January 21, 2017
25
         371    H.T. Harvey photograph of southern wetland         JL-014210
26              area ponding, January 21, 2017

27       372    H.T. Harvey photograph of Northern Fill Area,      JL-014213
                January 21, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               24
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 25 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         373    H.T. Harvey photograph of Tributary A,           JL-014218
 3              January 21, 2017
 4       374    H.T. Harvey photograph of owl, January 21,       JL-014239
                2017
 5
         375    H.T. Harvey photograph of vegetation             JL-014274
 6              surrounding pond in southern wetland area,
                January 21, 2017
 7       376    H.T. Harvey photograph of culvert, January       JL-014275
                21, 2017
 8
         377    H.T. Harvey photograph of Tributary 1,           JL-014277
 9              January 21, 2017
10       378    H.T. Harvey photograph of Tributary 1,           JL-014280
                January 21, 2017
11
         379    H.T. Harvey photograph of ponding in             JL-014283
12              Northern Fill Area, January 21, 2017
13       380    H.T. Harvey photograph of waterfowl in           JL-014285
                ponded area of Northern Fill Area, January 21,
14              2017
         381    H.T. Harvey photograph of ponding in             JL-014286
15              Northern Fill Area, facing north, January 21,
                2017
16       382    H.T. Harvey photograph of ponding along          JL-014288
                levee in Northern Fill Area, January 21, 2017
17
         383    H.T. Harvey photograph of ponding in             JL-014295
18              southern wetland with water fowl, facing
                south, January 21, 2017
19       384    H.T. Harvey photograph of ponding in             JL-014296
20              southern wetland with water fowl, facing east,
                January 21, 2017
21       385    H.T. Harvey photograph of nest near pond in      JL-014297
                southern wetland area, January 21, 2017
22
         386    H.T. Harvey photograph of nest with eggs near    JL-014298
23              pond in southern wetland area, January 21,
                2017
24       387    H.T. Harvey photograph of feeding waterfowl      JL-014304
                in southern wetland area pond, January 21,
25              2017
         388    H.T. Harvey close-up photograph of feeding       JL-014307
26              waterfowl in southern wetland area pond,
                January 21, 2017
27       389    H.T. Harvey close-up photograph of waterfowl     JL-014314
                in southern wetland area pond, January 21,
28              2017

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              25
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 26 of 64



 1    Number                     Description                     Bates Range   Offered   Admitted
 2
         390    H.T. Harvey photograph of Tributary A,         JL-014320
 3              January 21, 2017
 4       391    NOAA certified data regarding tidal datums     JL-036706-
                                                               036730
 5
         392    Google Certificate of Authenticity (Laura      JL-032977-
 6              Nofal)                                         032979
 7       393    Google Earth image, 2009-10-02                 JL-032980
 8
         394    Google Earth image, 2001-10-12                 JL-032981
 9
10       395    Google Earth image, 2012-06-14                 JL-032982
11
         396    Google Earth image, 2012-08-29                 JL-032983
12

13       397    Google Earth image, 2014-02-23                 JL-032984
14
         398    Google Certificate of Authenticity (Laura      JL-038671-
15              Nofal)                                         038673
16       399    Google Earth image, Northern Fill Area,        JL-038663
                3/21/17
17
         400    Google Earth image, Northern Fill Area,        JL-038664
18              12/20/04
19       401    Google Earth image, Northern Fill Area,        JL-038665
20              2/22/14

21       402    Google Earth image, Northern Fill Area,        JL-038666
                3/13/06
22
         403    Google Earth image, Northern Fill Area,        JL-038667
23              5/3/11

24       404    Google Earth image, Northern Fill Area,        JL-038668
                6/21/03
25
         405    Google Earth image, Northern Fill Area,        JL-038669
26              7/21/02

27       406    Google Earth narrowed image of Northern Fill   JL-038490
                Area, July 27, 2002
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              26
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 27 of 64



 1    Number                     Description                     Bates Range   Offered   Admitted
 2
         407    Google Earth narrowed image of Northern Fill   JL-038491
 3              Area, June 21, 2003
 4       408    Google Earth narrowed image of Northern Fill   JL-038492
                Area, December 20, 2004
 5
         409    Google Earth narrowed image of Northern Fill   JL-038493
 6              Area, March 13, 2006

 7       410    Google Earth narrowed image of Northern Fill   JL-038494
                Area, May 3, 2011
 8
         411    Google Earth narrowed image of Northern Fill   JL-038495
 9              Area, February 22, 2014
         412    CDL photograph of James Lucero shown to        JL-036836
10              Eric Faustino Martinez Larrañaga
11       413    CDL photograph of Kevin Olivero shown to       JL-036837
12              Eric Faustino Martinez Larrañaga

13       414    CDL photograph of Austin Lucero shown to       JL-036838
                Eric Faustino Martinez Larrañaga
14
         415    ‘Pull tag’ with handwriting of Eric Faustino   JL-023002
15              Martinez Larrañaga, 8/7/14

16       416    ‘Pull tag’ with handwriting of Eric Faustino   JL-023003
                Martinez Larrañaga, 8/7/14
17
         417    ‘Pull tag’ with handwriting of Eric Faustino   JL-023004
18              Martinez Larrañaga, 8/7/14

19       418    ‘Pull tag’ with handwriting of Eric Faustino   JL-023005
                Martinez Larrañaga, 8/7/14
20
         419    ‘Pull tag’ with handwriting of Eric Faustino   JL-023007
21              Martinez Larrañaga, 8/11/14

22       420    ‘Pull tag’ with handwriting of Eric Faustino   JL-023010
                Martinez Larrañaga, 8/11/14
23
         421    ‘Pull tag’ with handwriting of Eric Faustino   JL-023011
24              Martinez Larrañaga, 8/11/14

25       422    ‘Pull tag’ with handwriting of Eric Faustino   JL-023012
                Martinez Larrañaga, 8/11/14
26
         423    ‘Pull tag’ with handwriting of Eric Faustino   JL-023013
27              Martinez Larrañaga, 8/11/14

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               27
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 28 of 64



 1    Number                     Description                     Bates Range   Offered   Admitted
 2
         424    ‘Pull tag’ with handwriting of Eric Faustino   JL-023015
 3              Martinez Larrañaga, 8/11/14
 4       425    ‘Pull tag’ with handwriting of Eric Faustino   JL-023016
                Martinez Larrañaga (no date)
 5
         426    ‘Pull tag’ with handwriting of Eric Faustino   JL-023017
 6              Martinez Larrañaga, 8/11/14
 7       427    ‘Pull tag’ with handwriting of Eric Faustino   JL-023055
                Martinez Larrañaga, 8/14/14
 8
         428    ‘Pull tag’ with handwriting of Eric Faustino   JL-023100
 9              Martinez Larrañaga, 8/20/14
10       429    ‘Pull tag’ with handwriting of Eric Faustino   JL-023109
                Martinez Larrañaga, 8/20/14
11
         430    Economy Waste Solutions check to Eric          JL-003113
12              Martinez, 8/11/2014
13       431    Contract with Golden Gate Equipment Rental,    JL-037111-
                LLC, June 18, 2014                             037112
14
         432    Photograph of Komatsu D61 EX 23 bulldozer      JL-037181
15

16       433    Global navigation satellite/ GPS data          JL-037086-
                                                               037088
17
         434    Date and times of operation materials          JL-037089-
18                                                             037109
19       435    Photo lineup identification of James Lucero    JL-039334-
20                                                             039342

21       436    Contract between Golden Gate Equipment         JL-002508-
                Rentals and Lucero                             002518
22
         437    Economy Trucking Services Invoice 161782,      JL-003319
23              8/16/14

24       438    Economy Trucking Services Invoice 161371,      JL-003320
                8/16/14
25
         439    Economy Trucking Services Invoice 176661,      JL-003322
26              8/21/14

27       440    Economy Trucking Services Invoice 176369,      JL-003323
                8/21/14
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               28
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 29 of 64



 1    Number                   Description                    Bates Range   Offered   Admitted
 2
         441    Economy Trucking Services Invoice 167545,   JL-003324
 3              8/21/14
 4       442    Economy Trucking Services Invoice 166646,   JL-003325
                8/21/14
 5
         443    Economy Trucking Services Invoice 162940,   JL-003326
 6              8/21/14
 7       444    Economy Trucking Services Invoice 160712,   JL-003327
                8/21/14
 8
         445    Economy Trucking Services Invoice 159372,   JL-003328
 9              8/21/14
10       446    Economy Trucking Services Invoice 154375,   JL-003330
                9/2/14
11
         447    Economy Trucking Services Invoice 166295,   JL-003331
12              9/2/14
13       448    Economy Trucking Services Invoice 176005,   JL-003332
                9/2/14
14
         449    Economy Trucking Services Invoice 154231,   JL-003333
15              9/2/14
16       450    Economy Trucking Services Invoice 159983,   JL-003334
                9/2/14
17
         451    Economy Trucking Services Invoice 160691,   JL-003335
18              9/2/14
19       452    Economy Trucking Services Invoice 163127,   JL-003336
20              9/2/14

21       453    Economy Trucking Services Invoice 164739,   JL-003337
                9/2/14
22
         454    Economy Trucking Services Invoice 165120,   JL-003338
23              9/2/14

24       455    Economy Trucking Services Invoice 172371,   JL-003339
                9/2/14
25
         456    Economy Trucking Services Invoice 175809,   JL-003340
26

27       457    Economy Trucking Services Invoice 176082,   JL-003341
                9/2/14
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                           29
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 30 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         458    Economy Trucking Services Invoice 176745,       JL-003345
 3              9/2/14
 4       459    Golden Gate Equipment invoice to Economy        JL-013119
                Trucking Services, 9/2/14
 5
         460    Golden Gate Equipment invoice to Economy        JL-013123
 6              Trucking Services, 9/8/2014
 7       461    Dale Ruyle trucking invoice dated 8/4/14        JL-036178
 8
         462    FA Poli trucking invoice dated 8/5/14           JL-036179
 9
10       463    FA Poli trucking invoice dated 8/7/14           JL-036180
11
         464    FA Poli trucking invoice dated 8/11/14          JL-036181
12

13       465    FA Poli trucking invoice dated 8/13/14          JL-036182
14
         466    Henry ‘Sonny’ Victor trucking ‘pull tags’       JL-036046-
15                                                              036060
16       467    ‘Pull tag’ with handwriting of Pritam Singh,    JL-023236
                8/25/14
17
         468    ‘Pull tag’ with handwriting of Jagtar Chandi,   JL-023229
18              8/25/14
19       469    Photograph identified by Jagtar Chandi as       JL-000415
20              Mowry dumping location.

21       470    Photograph identified by Jagtar Chandi as       JL-000456
                Mowry dumping location.
22
         471    Declaration of Custodian of Records (Jeff Poli) JL-003436
23

24       472    Golden Gate Equipment Rentals LLC invoice       JL-003460
                to F.A Poli Trucking with Payment Stub,
25              9/3/14
         473    Golden Gate Equipment Rentals LLC invoice       JL-003461
26              to F.A Poli Trucking with Payment Stub,
                9/4/14
27       474    Golden Gate Equipment Rentals LLC invoice       JL-003462
                to F.A Poli Trucking with Payment Stub,
28              9/5/14

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               30
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 31 of 64



 1    Number                   Description                    Bates Range   Offered   Admitted
 2
         475    Golden Gate Equipment Rentals LLC invoice   JL-003463
 3              to F.A Poli Trucking, 9/8/14
 4       476    Golden Gate Equipment Rentals LLC invoice   JL-003464
                to F.A Poli Trucking, 10/13/14
 5
         477    Golden Gate Equipment Rentals LLC invoice   JL-003465
 6              to F.A Poli Trucking, 7/28/14
 7       478    Golden Gate Equipment Rentals LLC invoice   JL-003466
                to F.A Poli Trucking, 8/5/14
 8
         479    Golden Gate Equipment Rentals LLC invoice   JL-003467
 9              to F.A Poli Trucking, 8/7/14
10       480    Golden Gate Equipment Rentals LLC invoice   JL-003468
                to F.A Poli Trucking, 9/20/14
11
         481    Golden Gate Equipment Rentals LLC invoice   JL-003469
12              to F.A Poli Trucking, 8/4/14
13       482    Golden Gate Equipment Rentals LLC invoice   JL-003470
                to F.A Poli Trucking, 8/6/14
14
         483    Golden Gate Equipment Rentals LLC invoice   JL-003471
15              to F.A Poli Trucking, 8/12/14
16       484    Golden Gate Equipment Rentals LLC invoice   JL-003472
                to F.A Poli Trucking, 8/12/14
17
         485    Golden Gate Equipment Rentals LLC invoice   JL-003473
18              to F.A Poli Trucking, 8/13/14
19       486    Golden Gate Equipment Rentals LLC invoice   JL-003474
20              to F.A Poli Trucking, 8/22/14

21       487    Golden Gate Equipment Rentals LLC invoice   JL-003475
                to F.A Poli Trucking, 8/25/14
22
         488    Golden Gate Equipment Rentals LLC invoice   JL-003476
23              to F.A Poli Trucking, 8/26/14

24       489    Golden Gate Equipment Rentals LLC invoice   JL-003477
                to F.A Poli Trucking, 8/29/14
25
         490    Golden Gate Equipment Rentals LLC invoice   JL-003478
26              to F.A Poli Trucking, 8/25/14

27       491    Golden Gate Equipment Rentals LLC invoice   JL-003479
                to F.A Poli Trucking, 7/12/14
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                           31
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 32 of 64



 1    Number                    Description                       Bates Range   Offered   Admitted
 2
         492    Golden Gate Equipment Rentals LLC invoice       JL-003480
 3              to F.A Poli Trucking, 7/21/14
 4       493    Golden Gate Equipment Rentals LLC invoice       JL-003481
                to F.A Poli Trucking, 7/23/14
 5
         494    Golden Gate Equipment Rentals LLC invoice       JL-003482
 6              to F.A Poli Trucking, 7/31/14
 7       495    Golden Gate Equipment Rentals LLC invoice       JL-003483
                to F.A Poli Trucking, 7/30/14
 8
         496    Golden Gate Equipment Rentals LLC invoice       JL-003484
 9              to F.A Poli Trucking, 7/29/14
10       497    8/5/14 check to F.A. Poli from Penhall          JL-003485-
                Company for loads dumped, associated pull       003503
11              tags
         498    8/28/14 check to Fast Aggregate Products from   JL-003504-
12              Dale Ruyle Trucking and list of dump loads      003506
13       499    Golden Gate Equipment Rentals LLC invoice       JL-003507-
                to F.A Poli Trucking, 7/23/14                   003508
14
         500    7/28/14 invoice from Fast Aggregate Products    JL-003509
15              to Dale Ruyle Trucking and list of dump loads
16       501    Golden Gate Equipment Rentals LLC invoice       JL-003510
                to F.A Poli Trucking, 7/21/14
17
         502    9/18/14 check to Fast Aggregate Products from   JL-003511-
18              Dale Ruyle Trucking, list of dump loads,        003549
                associated pull tags
19       503    10/23/14 check to Fast Aggregate Products       JL-003550-
20              from Dale Ruyle Trucking, list of dump loads,   003600
                associated pull tags
21       504    8/25/14 invoice to Dale Ruyle Trucking and      JL-003601-
                associated pull tag                             003602
22
         505    8/25/14-2 invoice to Dale Ruyle Trucking and    JL-003603-
23              associated pull tags                            003608

24       506    9/6/14 invoice to Dale Ruyle Trucking and       JL-003609-
                associated pull tags                            003614
25
         507    9/11/14 invoice to Dale Ruyle Trucking and      JL-003615-
26              associated pull tags                            003621

27       508    12/4/14 check to Fast Aggregate Products from JL-003622
                Dale Ruyle Trucking
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                             32
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 33 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         509    9/24/14 invoice to Dale Ruyle Trucking and      JL-003623-
 3              associated pull tags                            003651
 4       510    FBI 302 re Romero qualifications                JL-033976
 5
         511    Design image, Tideflex Check Valve              JL-037757
 6

 7       512    Photograph HDPE pipe installation               JL-022766
 8
         513    Photographs of HDPE pipe installation (inlet    JL-022767
 9              & outfall sides)
10       514    Photographs of HDPE pipe installation           JL-022768
                (removed section of pipe)
11
         515    Photograph HDPE pipe installation (removal      JL-022769
12              of pipe)
13       516    Photographs of HDPE (new) pipe installation     JL-022771
14
         517    Photographs of Tideflex check valve and inlet   JL-022777
15

16       518    Photographs of outfall section with clamps      JL-022778
17
         519    Photographs of HDPE new pipe installation at    JL-022782
18              low tide
19       520    Photographs of HDPE new pipe installation       JL-022783
20              (standing water)

21       521    Photographs of HDPE pipe installation (high     JL-022786
                tide)
22
         522    Daily construction reports, purchase order,     JL-022788-
23              schematic HDPE pipe                             022805

24       523    Terry Huffman CV                                JL-034043-
                                                                034053
25
         524    CWA Jurisdictional Analysis & Determination     JL-033082-
26                                                              037238

27       525    524.1 Soil Characteristics Table                JL-033092-
                                                                033093
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               33
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 34 of 64



 1    Number                    Description                     Bates Range   Offered   Admitted
 2
         526    524.2 Sample Point Results Summary Table      JL-033111-
 3                                                            033113
 4       527    524.3 Summary Table of Wetland Functions      JL-033135-
                                                              033138
 5
         528    524.4 Study Area Regional Location Map        JL-033151
 6

 7       529    524.5 Study Area Location Map                 JL-033152
 8
         530    524.6 USGS Topographic Map                    JL-033153
 9
10       531    524.7 Harvey & Associates Fill Map            JL-033154
11
         532    524.8 USACE JD Map, 2007                      JL-033155
12

13       533    524.9 Serial Image Northern & Southern Fill   JL-033157
                Areas
14
         534    524.10 NRCS Soil Map                          JL-033158
15

16       535    524.11 FEMA Floodplain Map                    JL-033162
17
         536    524.12 Overview of Sample Locations           JL-033163
18

19       537    524.13 Figure, North Fill Area Sample         JL-033164
20              Locations

21       538    524.14 Figure, South Fill Area Sample         JL-033165
                Locations
22
         539    524.15 Figure, South Fill Area Sample         JL-033166
23              Locations SP-H and SP-I

24       540    524.16 Figure, Surface Drainage Boundary,     JL-033167
                Northern Area
25
         541    524.17 Figure, Surface Drainage Boundary,     JL-033168
26              northern portion of Southern Area

27       542    524.18 Figure, Surface Water Flow from North JL-033169
                Fill Area to Mowry Slough
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                             34
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 35 of 64



 1    Number                     Description                    Bates Range   Offered   Admitted
 2
         543    524.19 Figure, Surface Water Flow from South JL-033170
 3              Fill Area to Mowry Slough
 4       544    524.20 Figure, Topographic Mapping of Study   JL-033171
                Area
 5
         545    524.21 Topographic Map, North Fill Area       JL-033172
 6

 7       546    524.22 Topographic Map, South Fill Area       JL-033173
 8
         547    524.23 Topographic Map, South Fill Area,      JL-033174
 9              Tributaries A and B
10       548    524.24 Topographic Map, Confluence of         JL-033175
                Tributaries B with Mowry Slough
11
         549    524.25 Topographic Map, Confluence of         JL-033176
12              Tributaries 1 with Mowry Slough
13       550    524.26 Figure, Wetlands and Other Types of    JL-033178
                Water after Fill Placement, North Area
14
         551    524.27 Figure, Wetlands and Other Types of    JL-033180
15              Water after Fill Placement, South Area
16       552    524.28 Figure, Study Area Surface Water       JL-033181
                Connection to Mowry Slough
17
         553    524.29 Figure, Study Area Surface Water       JL-033182
18              Connection to Mowry Slough and SSF Bay
19       554    524.30 Figure, Study Area Surface Water       JL-033183
20              Connection to Mowry Slough, SSF Bay, and
                Pacific Ocean
21       555    524.31 Figure, Study Area Relationship to     JL-033184
                Mowry Slough and the Don Edwards SF Bay
22              Nat’l Wildlife Refuge
         556    524.32 Table, Wetland Hydrology Indicators    JL-033195
23

24       557    524.33 Tables, Hydric Soil Indicators         JL-033198

25
         558    524.34 Table, National Wetland Plant List     JL-033199-200
26              Indicator Definitions

27       559    524.35 Precipitation Data Summary             JL-033385

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              35
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 36 of 64



 1    Number                     Description                  Bates Range   Offered   Admitted
 2
         560    524.36 Monthly Total Precipitation for      JL-033386
 3              Newark, Ca.
 4       561    524.37 Monthly Total Precipitation for      JL-033393
                Newark, Ca., 2006-2017
 5
         562    524.38 Wetland Determination Data Form—     JL-033423-460
 6              Arid West Region (Huffman)
 7       563    524.39 Documentation of Mowry Slough        JL-033469
                Navigability (photograph)
 8
         564    524.40 Documentation of Mowry Slough        JL-033470
 9              Navigability (map)
10       565    524.41 USGS satellite view, Northern Fill   JL-033472
                Area, October 2003
11
         566    524.42 USGS satellite view, Southern Fill   JL-033473
12              Area, October 2003
13       567    524.43 USGS satellite view, Northern Fill   JL-033474
                Area, March 2006
14
         568    524.44 USGS satellite view, Southern Fill   JL-033475
15              Area, March 2006
16       569    524.45 USGS satellite view, Northern Fill   JL-033476
                Area, September 2008
17
         570    524.46 USGS satellite view, Southern Fill   JL-033477
18              Area, September 2008
19       571    524.47 USGS satellite view, Northern Fill   JL-033478
20              Area, February 2011

21       572    524.48 USGS satellite view, Southern Fill   JL-033479
                Area, February 2011
22
         573    524.49 NOAA satellite view, Northern Fill   JL-033480
23              Area, between 4/17/2013 and 2/24/14

24       574    524.50 NOAA satellite view, Southern Fill   JL-033481
                Area, between 4/17/2013 and 2/24/14
25
         575    524.51 Summary table of Water Inflows &     JL-037200
26              Outflows

27       576    Alameda County Water District Groundwater   JL-038605-
                Management Policy (2001)                    038623
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              36
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 37 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         577    Reliability by Design: Integrated Resources     JL-038644-
 3              Planning at the Alameda County Water            038662
                District (2014)
 4       578    524.52 Niles Cone Groundwater Schematic         JL-033481
 5
         579    524.53 Table, Comparison of Tidal Datums        JL-037202
 6              with Ground Elevations
 7       580    524.54 Table, Salinity Measurements             JL-037206-07
 8
         581    524.55 Chart, Salinity at Former Pintail Duck   JL-037208
 9              Club Pond
10       582    524.56 Photographs, Northern Fill Area          JL-037210
                (headcutting of levee)
11
         583    524.50 Photographs, Northern Fill Area          JL-037211
12              (seeps)
13       584    524.51 Photographs, Northern Fill Area          JL-037212
                (hypersaline depression)
14
         585    524.52 Photographs, Northern Fill Area (salt    JL-037213
15              accumulations)
16       586    524.53 Map, salinity sampling locations         JL-037215
17
         587    524.54 Photographs, Southern Area (duck         JL-037216
18              pond)
19       588    524.55 Photographs, Southern Area (electric     JL-037218
20              pump)

21       589    524.56 List of Photos Taken On-Site, Huffman    JL-033487-88

22
         590    524.57 Photographs, Tributary 1 culvert &       JL-033489
23              valve

24       591    524.58 Photographs, Tide-Flex Valve             JL-033490

25
         592    524.59 Photographs, Discharge Point             JL-033491
26              Tributary 1

27       593    524.60 Photographs, Filled wetlands adjacent    JL-033492
                to Tributary 1, waterbirds
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              37
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 38 of 64



 1    Number                    Description                       Bates Range   Offered   Admitted
 2
         594    524.61 Photographs, Northern Area               JL-033493
 3              (Tributary 1)
 4       595    524.62 Photographs, Mowry Slough levee          JL-033494
 5
         596    524.63 Photographs, Northern Area               JL-033493
 6              (Tributary 1)
 7       597    524.64 Photographs, Tributary A                 JL-033495
 8
         598    524.65 Photographs, Southern Fill Area          JL-033496
 9
10       599    524.66 Photographs, Southern Fill Area (shell   JL-033497
                fragments)
11
         600    524.67 Photographs, Southern Fill Area          JL-033498
12              (pickleweed)
13       601    524.68 Photographs, Southern Fill Area (rock    JL-033499
                and woody debris)
14
         602    524.69 Photographs, Mowry Slough levee          JL-033500
15              Tributary A & B
16       603    524.70 Photographs, Southern Fill Area          JL-033501
                (Tributary A & discharge pump)
17
         604    524.71 Photographs, Southern Fill Area          JL-033502
18              (Mowry Slough & discharge pump)
19       605    524.72 Photographs, Southern Fill Area          JL-033590
20              (Tributary A & discharge pump)

21       606    524.73 Map, Water Quality Sampling Points       JL-033591

22
         607    Huffman photograph of northern area outfall     JL-034312
23              pipe, facing east, January 9, 2017

24       608    Huffman photograph of northern area outfall     JL-034313
                pipe, facing north, January 9, 2017
25
         609    Huffman photograph, Mowry Slough facing         JL-034314
26              south, January 9, 2017

27       610    Huffman photograph of Northern Fill Area,       JL-034336
                January 9, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              38
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 39 of 64



 1    Number                     Description                    Bates Range   Offered   Admitted
 2
         611    Huffman photograph of Northern Fill Area,     JL-034338
 3              January 9, 2017
 4       612    Huffman photograph of Northern Fill Area,     JL-034339
                January 9, 2017
 5
         613    Huffman photograph of Northern Fill Area,     JL-034341
 6              January 9, 2017
 7       614    Huffman photograph of Northern Fill Area,     JL-034342
                January 9, 2017
 8
         615    Huffman photograph of Flood Control Channel JL-034364
 9              D, facing east, January 9, 2017
10       616    Huffman photograph of Flood Control Channel JL-034365
                D and pond to the south, January 9, 2017
11
         617    Huffman photograph of Mowry Slough, facing    JL-034369
12              south, January 9, 2017
13       618    Huffman photograph of pond south of           JL-034372
                Northern Fill Area, facing east, January 9,
14              2017
         619    Huffman photograph of Mowry Slough, facing    JL-034381
15              north, January 9, 2017
16       620    Huffman photograph of northern area           JL-034382
                Tributary 1, facing east, January 9, 2017
17
         621    Huffman photograph of northern area facing    JL-034394
18              east, January 9, 2017
19       622    Huffman photograph of North Fill Area, facing JL-034395
20              north, January 9, 2017

21       623    Huffman photograph of North Fill Area and     JL-034401
                Tributary 1, facing west, January 9, 2017
22
         624    Huffman photograph of North Fill Area and     JL-034413
23              Tributary 1, facing west, January 9, 2017

24       625    Huffman photograph of South Fill Area,        JL-034431
                Tributary A, facing east, January 9, 2017
25
         626    Huffman photograph of South Fill Area,        JL-034435
26              Tributary A, facing east, January 9, 2017

27       627    Huffman photograph of southern area           JL-034449
                pickleweed, facing west, January 9, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               39
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 40 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         628    Huffman photograph of southern area,             JL-034455
 3              Tributary A, facing east, January 9, 2017
 4       629    Huffman photograph of southern area,             JL-034457
                confluence of Tributary A and B, facing
 5              upstream (north), January 9, 2017
         630    Huffman photograph of southern area,             JL-034458
 6              confluence of Tributary A and B, facing
                downstream (south), January 9, 2017
 7       631    Huffman photograph of southern area,             JL-034470
                Tributary A, facing northeast, January 9, 2017
 8
         632    Huffman photograph of southern area,             JL-034471
 9              Tributary A, facing east, January 9, 2017
10       633    Huffman photograph of Tributary A, facing        JL-034477
                south, January 9, 2017
11
         634    Huffman photograph of pump outfall, facing       JL-034488
12              north, January 9, 2017
13       635    Huffman photograph of Tributary B, facing        JL-034510
                north, January 9, 2017
14
         636    Huffman photograph of northern area outfall      JL-034538
15              pipe discharging to Mowry Slough, February
                15, 2017
16       637    Huffman photograph of northern area,             JL-034539
                Tributary 1, facing east, February 15, 2017
17
         638    Huffman photograph of North Fill Area, facing JL-034545
18              northeast, February 15, 2017
19       639    Huffman photograph of North Fill Area, facing JL-034547
20              north, February 15, 2017

21       640    Huffman photograph of North Fill Area, facing JL-034548
                north, February 15, 2017
22
         641    Huffman photograph of northern area,             JL-034550
23              Tributary 1, facing west, February 15, 2017

24       642    Huffman photograph of headcutting of levee       JL-034553
                separating northern area and Flood Control
25              Line D, facing north, February 15, 2017
         643    Huffman photograph of soil removed in            JL-034557
26              southern area, February 15, 2017

27       644    Huffman photograph of South Fill Area, facing JL-034560
                northeast, February 15, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               40
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 41 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         645    Huffman photograph of South Fill Area, facing JL-034561
 3              east, February 15, 2017
 4       646    Huffman photograph of South Fill Area, facing JL-034562
                southeast, February 15, 2017
 5
         647    Huffman photograph of South Fill Area, facing JL-034563
 6              south, February 15, 2017
 7       648    Huffman photograph of soil pit, southern area,   JL-034574
                February 15, 2017
 8
         649    Huffman photograph of Sampling Point G,          JL-034603
 9              southern area, February 15, 2017
10       650    Huffman photograph of removed soil, southern     JL-034606
                area, February 15, 2017
11
         651    Huffman photograph of removed soil, southern     JL-034613
12              area, February 15, 2017
13       652    Huffman photograph of removed soil, southern     JL-034627
                area, February 15, 2017
14
         653    Huffman photograph of Southern Fill Area,        JL-034633
15              Tributary A, facing west, February 15, 2017
16       654    Huffman photograph of Southern Fill Area,        JL-034634
                Tributary A, facing north, February 15, 2017
17
         655    Huffman photograph of eastern edge of            JL-034635
18              Southern Fill Area, Tributary A, facing north,
                February 15, 2017
19       656    Huffman photograph of seep near Southern         JL-034636
20              Fill Area, facing northeast, February 15, 2017

21       657    Huffman photograph of Tributary A, facing        JL-034640
                northeast, February 15, 2017
22
         658    Huffman photograph of electric pump,             JL-034643
23              February 15, 2017

24       659    Huffman photograph of pump outfall,              JL-034644
                February 15, 2017
25
         660    Huffman photograph of Tributary A, ponded        JL-034652
26              areas, facing southeast, February 15, 2017

27       661    Huffman photograph of Tributary A, ponded        JL-034653
                areas, facing southeast, February 15, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               41
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 42 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         662    Huffman photograph of waterbirds on              JL-034658
 3              Tributary A, facing southeast, February 15,
                2017
 4       663    Huffman photograph of northern area outfall      JL-034669
                pipe, March 29, 2017
 5
         664    Huffman photograph of eastern part of            JL-034683
 6              northern area, facing northeast, March 29,
                2017
 7       665    Huffman photograph of eastern part of            JL-034684
                northern area, Tributary 1 outfall, facing
 8              southeast, March 29, 2017
         666    Huffman photograph of northern area seep,        JL-034692
 9              facing west, March 29, 2017
10       667    Huffman photograph of northern area, facing      JL-034695
                east, March 29, 2017
11
         668    Huffman photograph of Northern Fill Area,        JL-034705
12              ponding, waterbirds, March 29, 2017
13       669    Huffman photograph of Northern Fill Area,        JL-034729
                cattails, phragmites, March 29, 2017
14
         670    Huffman photograph of northern area, cattails,   JL-034733
15              March 29, 2017
16       671    Huffman photograph of Northern Fill Area,        JL-034737
                Tributary 1, facing west, March 29, 2017
17
         672    Huffman photograph of Northern Fill Area,        JL-034738
18              Tributary 1, facing north, March 29, 2017
19       673    Huffman photograph of Northern Fill Area,        JL-034739
20              Tributary 1, facing north, March 29, 2017

21       674    Huffman photograph of Northern Fill Area,        JL-034740
                Tributary 1, facing northeast, March 29, 2017
22
         675    Huffman photograph of Northern Fill Area,        JL-034741
23              Tributary 1, facing east, March 29, 2017

24       676    Huffman photograph of Northern Fill Area,        JL-034751
                ponding, facing west, March 29, 2017
25
         677    Huffman photograph of Northern Fill Area,        JL-034778
26              Tributary 1, facing north, March 29, 2017

27       678    Huffman photograph of Northern Fill Area,        JL-034779
                Tributary 1, facing northwest, March 29, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              42
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 43 of 64



 1    Number                     Description                        Bates Range   Offered   Admitted
 2
         679    Huffman photograph of western edge of             JL-034780
 3              Northern Fill Area, Tributary 1, facing
                northwest, March 29, 2017
 4       680    Huffman photograph of western edge of             JL-034781
                Northern Fill Area, Tributary 1, facing west,
 5              March 29, 2017
         681    Huffman photograph of Northern Fill Area,         JL-034795
 6              Tributary 1, facing northeast, March 29, 2017
 7       682    Huffman photograph of northern area,              JL-034806
                Tributary 1, facing northeast, March 29, 2017
 8
         683    Huffman photograph of northern area,              JL-034807
 9              Tributary 1, facing northeast, March 29, 2017
10       684    Huffman photograph of northern area,              JL-034808
                Tributary 1, facing north, March 29, 2017
11
         685    Huffman photograph of western part of             JL-034809
12              northern area, Tributary 1, facing northwest,
                March 29, 2017
13       686    Huffman photograph of western part of             JL-034812
                northern area, Tributary 1, facing west, March
14              29, 2017
         687    Huffman photograph of western part of             JL-034813
15              northern area, Tributary 1, facing northwest,
                March 29, 2017
16       688    Huffman photograph of western part of             JL-034814
                northern area, Tributary 1, facing northeast,
17              March 29, 2017
         689    Huffman photograph of western part of             JL-034826
18              northern area, Tributary 1, facing northwest,
                March 29, 2017
19       690    Huffman photograph of western part of             JL-034827
20              northern area, Tributary 1, facing north, March
                29, 2017
21       691    Huffman photograph of western part of             JL-034828
                northern area, Tributary 1, facing northeast,
22              March 29, 2017
         692    Huffman photograph of northern area outfall       JL-034846
23              culvert and Mowry Slough, facing south,
                March 29, 2017
24       693    Huffman photograph of northern area inboard       JL-034859
                culvert, March 29, 2017
25
         694    Huffman photograph of northern area               JL-034889
26              Tributary 1, facing east, March 29, 2017

27       695    Huffman photograph of Rob Huffman in boat         JL-034894
                on Mowry Slough, facing north, March 29,
28              2017

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               43
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 44 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         696    Huffman photograph of Rob Huffman in boat       JL-034898
 3              on Mowry Slough, facing south, March 29,
                2017
 4       697    Huffman photograph of Rob Huffman in boat       JL-034908
                on Mowry Slough, facing north, March 29,
 5              2017
         698    Huffman photograph of Rob Huffman in boat       JL-034915
 6              on Mowry Slough, facing south, March 29,
                2017
 7       699    Huffman photograph of Rob Huffman in boat       JL-034917
                on Mowry Slough, facing north, March 29,
 8              2017
         700    Huffman photograph of Tributary A and B         JL-034922
 9              confluence, facing north, March 29, 2017
10       701    Huffman photograph of Tributary A and B         JL-034923
                confluence, facing south, March 29, 2017
11
         702    Huffman photograph of southern area,            JL-034931
12              Tributary A, facing northeast, March 29, 2017
13       703    Huffman photograph of southern area,            JL-034932
                Tributary A, facing east, March 29, 2017
14
         704    Huffman photograph of southern area,            JL-034933
15              Tributary A and B confluence, facing
                southeast, March 29, 2017
16       705    Huffman photograph of southern area,            JL-034941
                Tributaries A and B, facing northeast, March
17              29, 2017
         706    Huffman photograph of Tributary A, facing       JL-035006
18              east, March 29, 2017
19       707    Huffman photograph of Tributary A, facing       JL-035010
20              east, March 29, 2017

21       708    Huffman photograph of pond in southern area,    JL-035016
                facing east, March 29, 2017
22
         709    Huffman photograph of pond in southern area,    JL-035017
23              facing east, March 29, 2017

24       710    Huffman photograph of pond in southern area,    JL-035018
                facing south, March 29, 2017
25
         711    Huffman photograph of Tributary B, facing       JL-035031
26              east, March 29, 2017

27       712    Huffman photograph of Rob Huffman in boat       JL-035063
                on Mowry Slough, facing west, March 29,
28              2017

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              44
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 45 of 64



 1    Number                    Description                     Bates Range   Offered   Admitted
 2
         713    Huffman photograph of Tributary B, facing     JL-035071
 3              north, March 29, 2017
 4       714    Huffman photograph of Tributary A and         JL-035087
                waterfowl, facing east, March 29, 2017
 5
         715    Huffman photograph of Rob Huffman in boat     JL-035092
 6              on Mowry Slough, waterfowl, March 29, 2017
 7       716    Huffman photograph of hordeum, southern       JL-035128
                area, March 29, 2017
 8
         717    Huffman photograph of South Fill Area and     JL-035144
 9              seep, facing north, March 30, 2017
10       718    Huffman photograph of South Fill Area, facing JL-035146
                north, March 30, 2017
11
         719    Huffman photograph of South Fill Area, facing JL-035147
12              northwest, March 30, 2017
13       720    Huffman photograph of South Fill Area and     JL-035148
                Tributary A, facing west, March 30, 2017
14
         721    Huffman photograph of pump outfall and        JL-035229
15              Mowry Slough, facing north, April 6, 2017
16       722    Huffman photograph of floating pump, facing   JL-035231
                east, April 6, 2017
17
         723    Huffman photograph of Tributary 1, facing     JL-035239
18              north, April 21, 2017
19       724    Huffman photograph of Tributary 1, facing     JL-035240
20              north, April 21, 2017

21       725    Huffman photograph of Tributary 1, facing     JL-035241
                northeast, April 21, 2017
22
         726    Huffman photograph of Tributary 1 inboard     JL-035243
23              culvert, April 21, 2017

24       727    Huffman photograph of Tributary 1, Mowry      JL-035244
                Slough levee, facing north, April 21, 2017
25
         728    Huffman photograph of North Fill Area, facing JL-035263
26              west, April 21, 2017

27       729    Huffman photograph of location of Sampling    JL-035274
                Point 1, northern area, April 21, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                             45
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 46 of 64



 1    Number                      Description                       Bates Range   Offered   Admitted
 2
         730    Huffman photograph of Tributary 1,                JL-035294
 3              waterbirds, facing west, April 21, 2017
 4       731    Huffman photograph of Tributary 1,                JL-035298
                waterbirds, facing west, April 21, 2017
 5
         732    Huffman photograph of western edge of             JL-035305
 6              Northern Fill Area, facing north, April 21,
                2017
 7       733    Huffman photograph of Northern Fill Area,         JL-035307
                facing east, April 21, 2017
 8
         734    Huffman photograph of Northern Fill Area,         JL-035308
 9              facing east, April 21, 2017
10       735    Huffman photograph of Northern Fill Area,         JL-035311
                Tributary 1, facing east, April 21, 2017
11
         736    Huffman photograph of western edge of             JL-035317
12              Northern Fill Area, Tributary 1, facing west,
                April 21, 2017
13       737    Huffman photograph of location of Sampling        JL-035323
                Point 2, northern area, April 21, 2017
14
         738    Huffman photograph of location of Sampling        JL-035325
15              Point 2, northern area, April 21, 2017
16       739    Huffman photograph of location of Sampling        JL-035334
                Point 3, northern area, April 21, 2017
17
         740    Huffman photograph of Northern Fill Area,         JL-035348
18              cattails, facing west, April 21, 2017
19       741    Huffman photograph of Northern Fill Area,         JL-035358
20              ponded areas, facing east, April 21, 2017

21       742    Huffman photograph of Northern Fill Area,         JL-035363
                ponded areas, salt grass, cattails, and
22              phragmites, facing southeast, April 21, 2017
         743    Huffman photograph of Northern Fill Area,         JL-035365
23              ponded areas, salt grass, cattails, and
                phragmites, facing southeast, April 21, 2017
24       744    Huffman photograph of Northern Fill Area,         JL-035366
                ponded areas, cattails, and phragmites, facing
25              east, April 21, 2017
         745    Huffman photograph of Northern Fill Area,         JL-035367
26              ponded areas, salt grass, cattails, and
                phragmites, facing southeast, April 21, 2017
27       746    Huffman photograph of Northern Fill Area,         JL-035372
                ponded areas, cattails, facing north, April 21,
28              2017

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                                46
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 47 of 64



 1    Number                      Description                        Bates Range   Offered   Admitted
 2
         747    Huffman photograph of Northern Fill Area,          JL-035386
 3              ponded areas, cattails, facing north, April 21,
                2017
 4       748    Huffman photograph of Northern Fill Area,          JL-035408
                ponded areas, cattails, facing north, April 21,
 5              2017
         749    Huffman photograph of Northern Fill Area,          JL-035409
 6              ponded areas, cattails, facing northeast, April
                21, 2017
 7       750    Huffman photograph of salt grass, northern         JL-035416
                area, facing east, April 21, 2017
 8
         751    Huffman photograph of Northern Fill Area,          JL-035421
 9              facing west, April 21, 2017
10       752    Huffman photograph of shovel, excavated soil,      JL-035423
                salt grass at location of Sampling Point 8,
11              northern area, April 21, 2017
         753    Huffman photograph of soil at location of          JL-035432
12              Sampling Point 7, northern area, April 21,
                2017
13       754    Huffman photograph of soil at location of          JL-035433
                Sampling Point 7, northern area, April 21,
14              2017
         755    Huffman photograph of soil at location of          JL-035437
15              Sampling Point 7, northern area, April 21,
                2017
16       756    Huffman photograph of soil at location of          JL-035446
                Sampling Point 4, northern area, April 21,
17              2017
         757    Huffman photograph of soil at location of          JL-035448
18              Sampling Point 4, northern area, April 21,
                2017
19       758    Huffman photograph of soil at location of          JL-035459
20              Sampling Point 2, northern area, April 21,
                2017
21       759    Huffman photograph of soil at location of          JL-035461
                Sampling Point 3, northern area, April 21,
22              2017
         760    Huffman photograph of northern area,               JL-035463
23              Tributary 1, waterbirds, facing east, April 21,
                2017
24       761    Huffman photograph of water at inboard side        JL-035467
                of Tributary 1 culvert, northern area, April 21,
25              2017
         762    Huffman photograph of northern area, near          JL-035468
26              Tributary 1 culvert, facing north, April 21,
                2017
27       763    Huffman photograph of northern area,               JL-035470
                Tributary 1, facing east, April 21, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                                47
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 48 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         764    Huffman photograph of Tributary A and B          JL-035473
 3              confluence, southern area, facing north, April
                21, 2017
 4       765    Huffman photograph of Tributary A and B          JL-035474
                confluence, southern area, facing south, April
 5              21, 2017
         766    Huffman photograph of southern area,             JL-035482
 6              Tributary A, facing east, April 21, 2017
 7       767    Huffman photograph of pump, facing               JL-035487
                southeast, April 21, 2017
 8
         768    Huffman photograph of pump, facing north,        JL-035488
 9              April 21, 2017
10       769    Huffman photograph of South Fill Area,           JL-035501
                Tributary A, facing west, April 21, 2017
11
         770    Huffman photograph of South Fill Area, facing JL-035502
12              northwest, April 21, 2017
13       771    Huffman photograph of South Fill Area, facing JL-035503
                northwest, April 21, 2017
14
         772    Huffman photograph of South Fill Area, facing JL-035504
15              north, April 21, 2017
16       773    Huffman photograph of seep near South Fill       JL-035505
                Area, facing northeast, April 21, 2017
17
         774    Huffman photograph of Sampling Point B,          JL-035516
18              southern area, April 21, 2017
19       775    Huffman photograph of Sampling Point G,          JL-035520
20              southern area, April 21, 2017

21       776    Huffman photograph of wet soil at Sampling       JL-035526
                Point E, southern area, April 21, 2017
22
         777    Huffman photograph of soil and vegetation at     JL-035533
23              Sampling Point C, southern area, April 21,
                2017
24       778    Huffman photograph of soil and vegetation at     JL-035538
                Sampling Point G, southern area, April 21,
25              2017
         779    Huffman photograph of soil and vegetation at     JL-035540
26              Sampling Point F, Tributary A, facing east,
                April 21, 2017
27       780    Huffman photograph of soil and vegetation at     JL-035542
                Sampling Point F, Tributary A, facing west,
28              April 21, 2017

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               48
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 49 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         781    Huffman photograph of Sampling Point A, soil    JL-035546
 3              and vegetation, southern area, April 21, 2017
 4       782    Huffman photograph of northern area,            JL-035551
                Tributary 1, facing east, June 8, 2017
 5
         783    Huffman photograph of northern area,            JL-035553
 6              Tributary 1, facing east, June 8, 2017
 7       784    Huffman photograph of northern area,            JL-035554
                Tributary 1, facing northeast, June 8, 2017
 8
         785    Huffman photograph of northern area,            JL-035555
 9              Tributary 1, facing northeast, June 8, 2017
10       786    Huffman photograph of northern area,            JL-035569
                Tributary 1, facing southeast, June 8, 2017
11
         787    Huffman photograph of northern area, seep       JL-035580
12              area, facing north, June 8, 2017
13       788    Huffman photograph of Northern Fill Area,       JL-035588
                seep areas, facing east, June 8, 2017
14
         789    Huffman photograph of Northern Fill Area,       JL-035590
15              facing east, June 8, 2017
16       790    Huffman photograph of Northern Fill Area,       JL-035591
                facing northeast, June 8, 2017
17
         791    Huffman photograph of Northern Fill Area,       JL-035592
18              facing north, June 8, 2017
19       792    Huffman photograph of Northern Fill Area,       JL-035593
20              facing northwest, June 8, 2017

21       793    Huffman photograph of Northern Fill Area,       JL-035594
                facing west, June 8, 2017
22
         794    Huffman photograph of Northern Fill Area,       JL-035598
23              facing east, June 8, 2017

24       795    Huffman photograph of Northern Fill Area,       JL-035599
                facing northeast, June 8, 2017
25
         796    Huffman photograph of Northern Fill Area,       JL-035600
26              facing north, June 8, 2017

27       797    Huffman photograph of Northern Fill Area,       JL-035601
                facing north, June 8, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               49
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 50 of 64



 1    Number                    Description                     Bates Range   Offered   Admitted
 2
         798    Huffman photograph of Northern Fill Area,     JL-035602
 3              facing west, June 8, 2017
 4       799    Huffman photograph of Northern Fill Area,     JL-035605
                facing north, June 8, 2017
 5
         800    Huffman photograph of Northern Fill Area,     JL-035606
 6              facing northeast, June 8, 2017
 7       801    Huffman photograph of northern area, facing   JL-035608
                northwest, June 8, 2017
 8
         802    Huffman photograph of northern area, facing   JL-035611
 9              north, June 8, 2017
10       803    Huffman photograph of northern area, facing   JL-035612
                northeast, June 8, 2017
11
         804    Huffman photograph of standing water by       JL-035613
12              inboard culvert, east side of Mowry Slough
                levee, June 8, 2017
13       805    Huffman photograph of Northern Fill Area,     JL-035616
                facing northeast, June 8, 2017
14
         806    Huffman photograph of Tributary A, facing     JL-035622
15              northeast, June 8, 2017
16       807    Huffman photograph of Tributary B, facing     JL-035624
                north, June 8, 2017
17
         808    Huffman photograph of Tributary B, facing     JL-035626
18              south, June 8, 2017
19       809    Huffman photograph of Tributary A, facing     JL-035639
20              southeast, June 8, 2017

21       810    Huffman photograph of Tributary A, facing     JL-035642
                east, June 8, 2017
22
         811    Huffman photograph of Tributaries A & B,      JL-035663
23              facing northeast, June 8, 2017

24       812    Huffman photograph of Tributary B, facing     JL-035664
                east, June 8, 2017
25
         813    Huffman photograph of Tributary B, facing     JL-035665
26              south, June 8, 2017

27       814    Huffman photograph of Tributary B and pump, JL-035673
                facing south, June 8, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                             50
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 51 of 64



 1    Number                     Description                      Bates Range   Offered   Admitted
 2
         815    Huffman photograph of Tributary B, facing       JL-035676
 3              north, June 8, 2017
 4       816    Huffman photograph of pump, facing              JL-035682
                southeast, June 8, 2017
 5
         817    Huffman photograph of pond and levee, facing    JL-035693
 6              south, June 8, 2017
 7       818    Huffman photograph of pond, facing southeast, JL-035694
                June 8, 2017
 8
         819    Huffman photograph of pond, facing east, June JL-035695
 9              8, 2017
10       820    Huffman photograph of pond and levee, facing    JL-035696
                northeast, June 8, 2017
11
         821    Huffman photographs of pond and levee,          JL-035703
12              southern area, facing south, June 8, 2017
13       822    Huffman photographs of pond, southern area,     JL-035705
                facing east, June 8, 2017
14
         823    Huffman photographs of pond and levee,          JL-035706
15              southern area, facing south, June 8, 2017
16       824    Huffman photograph of seep near Southern        JL-035725
                Fill Area, facing northeast, June 8, 2017
17
         825    Huffman photograph of Tributary A and           JL-035727
18              Southern Fill Area, facing northwest, June 8,
                2017
19       826    Huffman photograph of Southern Fill Area,       JL-035728
20              facing north, June 8, 2017

21       827    Huffman photograph of Southern Fill Area,       JL-035729
                facing north, June 8, 2017
22
         828    Huffman photograph of Southern Fill Area and    JL-035730
23              seep, facing northeast, June 8, 2017

24       829    Huffman photograph of northern area,            JL-038695
                Tributary 1, facing east, August 7, 2017
25
         830    Huffman photograph of levee separating          JL-038699
26              Mowry Slough and northern area, facing
                northwest, August 7, 2017
27       831    Huffman photograph of Northern Fill Area,       JL-038701
                facing west, August 7, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               51
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 52 of 64



 1    Number                     Description                        Bates Range   Offered   Admitted
 2
         832    Huffman photograph of Northern Fill Area,         JL-038702
 3              facing northwest, August 7, 2017
 4       833    Huffman photograph of Northern Fill Area,         JL-038703
                facing north, August 7, 2017
 5
         834    Huffman photograph of Northern Fill Area,         JL-038704
 6              facing east, August 7, 2017
 7       835    Huffman photograph of Northern Fill Area,         JL-038706
                facing northwest, August 7, 2017
 8
         836    Huffman photograph of western edge of             JL-038715
 9              Northern Fill Area, Tributary 1, facing west,
                August 7, 2017
10       837    Huffman photograph of levee separating            JL-038720
                Northern Fill Area from Flood Control Line D,
11              facing northeast, August 7, 2017
         838    Huffman photograph of northern area,              JL-038724
12              Tributary 1, facing west, August 7, 2017
13       839    Huffman photograph of northern area,              JL-038733
                Tributary 1, facing west, August 7, 2017
14
         840    Huffman photograph of pond south of northern      JL-038737
15              area, facing south, August 7, 2017
16       841    Huffman photograph of northern area,              JL-038739
                Tributary 1, facing northeast, August 7, 2017
17
         842    Huffman photograph of western part of             JL-038742
18              northern area, Tributary 1, facing northwest,
                August 7, 2017
19       843    Huffman photograph of western edge of             JL-038751
20              northern area, Tributary 1, facing northwest,
                August 7, 2017
21       844    Huffman photograph of southern area,              JL-038771
                Tributary A, near Tributary A/B culvert, facing
22              northeast, August 7, 2017
         845    Huffman photograph of electric pump, facing       JL-038776
23              east, August 7, 2017

24       846    Huffman photograph of electric pump,              JL-038780
                Tributary B, facing north, August 7, 2017
25
         847    Huffman photograph of Tributary B culverts.       JL-038782
26              facing northeast, August 7, 2017

27       848    Huffman photograph of Tributary B. facing         JL-038796
                northwest, August 7, 2017
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              52
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 53 of 64



 1    Number                     Description                     Bates Range   Offered   Admitted
 2
         849    Huffman photograph of Flood Control Line D     JL-038803
 3              levee and northern part of pond. facing
                northeast, August 7, 2017
 4       850    Huffman photograph of Tributary A, Southern    JL-038805
                Fill Area, facing west, August 8, 2017
 5
         851    Huffman photograph of Southern Fill Area,      JL-038806
 6              facing northwest, August 8, 2017
 7       852    Huffman photograph of Southern Fill Area,      JL-038807
                facing north, August 8, 2017
 8
         853    Huffman photograph of seep near Southern       JL-038809
 9              Fill Area, facing northeast, August 8, 2017
10       854    Huffman photograph of electric pump, facing    JL-038816
                east, August 8, 2017
11
         855    Huffman photograph of fish swimming near       JL-038821
12              electric pump, August 8, 2017
13       856    Huffman photograph of southern area,            JL-038823
                Tributary A, near Tributary A/B culvert, facing
14              northeast, August 8, 2017
         857    Huffman photograph of Tributary B, facing       JL-038836
15              south, August 8, 2017
16       858    Huffman photograph of ponded areas,            JL-038837
                Tributary A, facing south, August 8, 2017
17
         859    Huffman photograph of southern area pond,      JL-038844
18              facing southeast, August 8, 2017
19       860    Huffman photograph of southern area pond,      JL-038847
20              facing north, August 8, 2017

21       861    Huffman photograph of southern area pond,      JL-038856
                facing northeast, August 8, 2017
22
         862    Huffman photograph of waterbirds in southern   JL-038857
23              area pond, facing east, August 8, 2017

24       863    Huffman photograph of southern area pond,      JL-038863
                facing northeast, August 8, 2017
25
         864    Huffman videos of Tributary A and B            JL-035740
26              confluence and flow, and of electric pump
                outfall into Mowry Slough and inboard side,
27              January 9, 2017
         865    Huffman videos of water flowing from           JL-035741
28              Tributary 1 outfall culvert, and Tributary A
                and B confluence and flow, February 15, 2017
     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              53
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 54 of 64



 1    Number                     Description                        Bates Range   Offered   Admitted
 2
         866    Huffman videos of Tributary 1, water flowing      JL-035742
 3              from Tributary 1 outfall culvert, Tributary B,
                and Rob Huffman navigating Mowry Slough,
 4              March 29, 2017
         867    Huffman videos of Tributary A and B               JL-035744
 5              confluence and flow, electric pump outfall into
                Mowry Slough, waterbirds in northern area,
 6              and Rob Huffman navigating Mowry Slough,
                April 21, 2017
 7       868    Huffman video of Tributary A and B                JL-035745
                confluence and flow, June 8, 2017
 8
         869    Huffman video of fish swimming by electric        JL-038865
 9              pump, August 8, 2017
10       870    Huffman videos of Tributary A and B               JL-038866
                confluence and flow, August 7, 2017
11
         871    Figure 3-A Comparison of 2006 Spot                JL-036893-
12              Elevations with August 2017 Spot Elevations       036895
13       872    Figure 3-B Comparison of 2006 Spot                JL-036896-
                Elevations with August 2017 Spot Elevations       036898
14
         873    Figure F3-C Earth Moving Equipment GPS            JL-036901
15

16       874    Figure F3-D Aerial image showing bulldozer        JL-036902
                usage, North Fill Area
17
         875    Figure F3-E aerial image showing bulldozer        JL-036903
18              usage, South Fill Area
19       876    Table F3-1 Analysis of Grading Equipment          JL-036904-
                Usage                                             036923
20
         877    Table F3-2 North & South Fill Area Spot           JL-036923
21
                Elevation Comparisons
22
         878    Survey footprint map                              JL-036925
23

24       879    Clean Water Act Jurisdictional Analysis and       JL-033082-
                Determination for Fill Placement Areas on the     033779, JL-
25              Newark Partners, LLC, Newark Property             37197-037217,
                Alameda County, California—Huffman-               JL-037219-
26              Broadway Group                                    037239
         880    Robert Coats, CV                                  JL-022855-
27                                                                022873.

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               54
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 55 of 64



 1    Number                     Description                      Bates Range    Offered   Admitted
 2
         881    Hydrology Studies with map of bay margin        JL-033483-
 3              and tidal sloughs (Part of Huffman Report,      033484
                Exh F)
 4       882    Report re Water Quality Data and Connectivity   JL-034309-
                to Mowry Slough                                 034311
 5
         883    Letter re estimated flow rates                  JL-034288-
 6                                                              034289
 7       884    Chart re “Head-Discharge relationship of        JL-034304
                culverts.”
 8
         885    Tidal Datums Chart                              JL-034305-
 9                                                              034306, JL-
                                                                033483-033484
10       886    Photographs of electric pump and outflow into   JL-033501-
                Mowry Slough, Tributary A outflow, January      033502
11              9, 2017 & February 15, 2017
         887    Photographs of Tidal Seep, taken by Robert      JL-037211
12              Coats, 6/8/17
13       888    Photographs of Northern and Southern Fill       JL-37536-37575
                Areas, Tributaries, Robert Coats, 8/7/17.
14
         889    List of Tidal Elevations                        JL-037575
15

16       890    Chart of Salinity At Former Pintail Duck Club   JL-037208
17
         891    Tideflex Gate Chart                             JL-037654-
18                                                              037655
19       892    Coats Summary of Videos Taken                   JL-035735-
20                                                              035736

21       893    Gary Deghi, CV                                  JL-022874

22
         894    Bird sighting report & charts                   JL-033463-
23                                                              033466

24       895    Bird sighting notes                             JL-37522-37535

25
         896    Duncan Knudson CV                               JL-034245
26

27       897    Analytical Report                               JL-034105-
                                                                034240
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              55
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 56 of 64



 1    Number                     Description                       Bates Range    Offered   Admitted
 2
         898    Galacatos CV                                     JL-23466-23469
 3

 4       899    Galacatos Field Map, November 4, 2014            JL-025161
 5
         900    Galacatos Memorandum                             JL-000005-
 6              For Record, 2/19/14                              000007
 7       901    Galacatos Memorandum, 1/27/2015                  JL-025158-
                                                                 025188
 8
         902    Aerial photograph with t-sheet showing           JL-012227
 9              historic sloughs
10       903    1948 aerial photograph of southwestern           JL-012228
                portion of site showing tidal sloughs
11
         904    Aerial image of southwestern portion of site     JL-012451
12              showing location of pump
13       905    Helicopter video compilation, North & South      JL-036173
                Fill Areas, wetlands, Mowry Slough (Diehl)
14
         906    Helicopter video compilation, North & South      JL-036174
15              Fill Areas, wetlands, Mowry Slough (Diehl)
16       907    Helicopter videos of North & South wetland       JL-34039
                areas
17
         908    FBI SA David Diehl 11/15/16 photograph of        JL-010059
18              Stevenson Gate
19       909    FBI SA David Diehl 11/15/16 photograph of        JL-010060
20              Stevenson Gate and entry road

21       910    FBI SA David Diehl 11/15/16 photograph of        JL-010065
                entry road to Southern Fill Area
22
         911    FBI SA David Diehl 11/15/16 photograph of        JL-010067
23              entry road to Southern Fill Area, facing north

24       912    FBI SA David Diehl 11/15/16 photograph of        JL-010071
                entry to Southern Fill Area
25
         913    FBI SA David Diehl 11/15/16 photograph of        JL-010073
26              entry to Southern Fill Area, facing east

27       914    FBI SA David Diehl 11/15/16 photograph of        JL-010074
                pond at entrance to Southern Fill Area
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               56
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 57 of 64



 1    Number                     Description                        Bates Range   Offered   Admitted
 2
         915    FBI SA David Diehl 11/15/16 photograph of         JL-010056
 3              pickleweed near Tributary A
 4       916    FBI SA David Diehl 11/15/16 photograph of         JL-010077
                standing water, Southern Fill Area
 5
         917    FBI SA David Diehl 11/15/16 photograph of         JL-010080
 6              Tributary A
 7       918    FBI SA David Diehl 11/15/16 photograph of         JL-010084
                pickleweed, Southern Fill Area
 8
         919    FBI SA David Diehl 11/15/16 photograph of         JL-010091
 9              debris field, Southern Fill Area
10       920    FBI SA David Diehl 11/15/16 photograph of         JL-010097
                asphalt chunks, Southern Fill Area
11
         921    FBI SA David Diehl 11/15/16 photograph of         JL-010098
12              plastic scrap, Southern Fill Area
13       922    FBI SA David Diehl 11/15/16 photograph of         JL-010099
                flat stone tile, Southern Fill Area
14
         923    FBI SA David Diehl 11/15/16 photograph of         JL-010100
15              metal scrap, Southern Fill Area
16       924    FBI SA David Diehl 11/15/16 photograph of 4       JL-010101
                x 4 piece of lumber, Southern Fill Area
17
         925    FBI SA David Diehl 11/15/16 photograph of         JL-010102
18              crushed metal pipe, Southern Fill Area
19       926    FBI SA David Diehl 11/15/16 photograph of         JL-010104
20              lumber debris, Southern Fill Area

21       927    FBI SA David Diehl 11/15/16 photograph of         JL-010105
                partially buried construction debris, Southern
22              Fill Area
         928    FBI SA David Diehl 11/15/16 photograph of         JL-010108
23              debris field facing east, Southern Fill Area

24       929    FBI SA David Diehl 11/15/16 photograph of         JL-010110
                asphalt chunk, Southern Fill Area
25
         930    FBI SA David Diehl 11/15/16 photograph of         JL-010112
26              long metal pipe and debris field, Southern Fill
                Area
27       931    FBI SA David Diehl 11/15/16 photograph of         JL-010113
                brick, Southern Fill Area
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               57
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 58 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         932    FBI SA David Diehl 11/15/16 photograph of        JL-010116
 3              plywood pieces, Southern Fill Area
 4       933    FBI SA David Diehl 11/15/16 photograph of        JL-010118
                ceramic pipe shards, Southern Fill Area
 5
         934    FBI SA David Diehl 11/15/16 photograph of        JL-010119
 6              compressed plastic, Southern Fill Area
 7       935    FBI SA David Diehl 11/15/16 photograph of        JL-010120
                crushed metal container, Southern Fill Area
 8
         936    FBI SA David Diehl 11/15/16 photograph of        JL-010123
 9              burlap sack remnant, Southern Fill Area
10       937    FBI SA David Diehl 11/15/16 photograph of        JL-010124
                water in Tributary A, Southern Fill Area
11
         938    FBI SA David Diehl 11/15/16 photograph of        JL-010110
12              asphalt chunk, Southern Fill Area
13       939    FBI SA David Diehl 11/15/16 photograph of        JL-010127
                fish in Tributary A, Southern Fill Area
14
         940    FBI SA David Diehl 11/15/16 photograph of        JL-010128
15              black plastic tarp, Southern Fill Area
16       941    FBI SA David Diehl 11/15/16 photograph of        JL-010132
                plastic in Tributary A, Southern Fill Area
17
         942    FBI SA David Diehl 11/15/16 photograph of        JL-010134
18              broken plastic basket, Southern Fill Area
19       943    FBI SA David Diehl 11/15/16 photograph of        JL-010137
20              concrete chunk, Southern Fill Area

21       944    FBI SA David Diehl 11/15/16 photograph of        JL-010140
                debris field and standing water, Southern Fill
22              Area
         945    FBI SA David Diehl 11/15/16 photograph of        JL-010155
23              pickleweed in standing water, Southern Fill
                Area
24       946    FBI SA David Diehl 11/15/16 photograph of        JL-010158
                broken right-angle pipe, Southern Fill Area
25
         947    FBI SA David Diehl 11/15/16 photograph of        JL-010161
26              severed rope, Southern Fill Area

27       948    FBI SA David Diehl 11/15/16 photograph of        JL-010163
                Tributary 1
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               58
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 59 of 64



 1    Number                     Description                        Bates Range   Offered   Admitted
 2
         949    FBI SA David Diehl 11/15/16 photograph of         JL-010164
 3              Tributary 1 facing east
 4       950    FBI SA David Diehl 11/15/16 photograph of         JL-010172
                standing water, Northern Fill Area
 5
         951    FBI SA David Diehl 11/15/16 photograph of         JL-010177
 6              standing water in Tributary 1 and Northern Fill
                Area
 7       952    FBI SA David Diehl 11/15/16 photograph of         JL-010179
                standing water in Tributary 1 and Northern Fill
 8              Area
         953    FBI SA David Diehl 11/15/16 photograph of         JL-010182
 9              standing water in Northern Fill Area, facing
                west
10       954    FBI SA David Diehl 11/15/16 photograph of         JL-010183
                vegetation and standing in Northern Fill Area,
11              facing west
         955    FBI SA David Diehl 11/15/16 photograph of         JL-010194
12              standing water in western portion of Northern
                Fill Area
13       956    FBI SA David Diehl 11/15/16 photograph of         JL-010197
                standing water in Tributary 1 near culvert
14
         957    FBI SA David Diehl 11/15/16 photograph of         JL-010198
15              standing water in Tributary 1 near culvert,
                facing levee
16       958    FBI SA David Diehl 11/15/16 photograph of         JL-010202
                standing pond of water at culvert entrance
17
         959    FBI SA David Diehl 11/15/16 photograph of         JL-010201
18              electric pump
19       960    FBI SA David Diehl 11/15/16 photograph of         JL-010214
20              electric pump outflow pipe

21       961    FBI SA David Diehl 11/15/16 photograph of         JL-010216
                Mowry Slough near outflow pipe
22
         962    FBI SA David Diehl 3/3/17 photograph of           JL-033005
23              Stevenson Boulevard entrance to southern
                wetland
24       963    FBI SA David Diehl 3/3/17 aerial photograph       JL-033015
                of Newark Area 4
25
         964    FBI SA David Diehl 3/3/17 aerial photograph       JL-033023
26              of Newark Area 4, facing south

27       965    FBI SA David Diehl 3/3/17 aerial photograph       JL-033015
                of Newark Area 4 and Mowry Slough, facing
28              south

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                               59
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 60 of 64



 1    Number                     Description                       Bates Range   Offered   Admitted
 2
         966    FBI SA David Diehl 3/3/17 aerial photograph      JL-033027
 3              of southern wetland and Mowry Slough, facing
                south
 4       967    FBI SA David Diehl 3/3/17 aerial photograph      JL-033030
                of southern wetland, Mowry Slough, and SF
 5              Bay, facing south
         968    FBI SA David Diehl 3/3/17 aerial photograph      JL-033040
 6              of Newark Area 4, surrounding salt ponds,
                facing south
 7       969    FBI SA David Diehl 3/3/17 aerial photograph      JL-033043
                of northern edge of Newark Area 4, facing
 8              south
         970    FBI SA David Diehl 3/3/17 aerial photograph      JL-033047
 9              of northern edge of Newark Area 4, facing
                southeast
10       971    FBI SA David Diehl 3/3/17 distant aerial         JL-033063
                photograph of northern edge of Newark Area 4
11              peninsula and surrounding salt ponds, facing
                southeast
12       972    FBI SA David Diehl 3/3/17 aerial photograph      JL-033078
                of southern wetlands along Mowry Slough,
13              facing south
         973    FBI Photographer Edward Ledda 12/16/16           JL-036084
14              aerial photograph of mouth of Mowry Slough
15       974    FBI Photographer Edward Ledda 12/16/16           JL-036086
                aerial photograph of mouth of Mowry Slough
16
         975    FBI Photographer Edward Ledda 12/16/16           JL-036091
17              aerial photograph of Northern Fill Area and
                Tributary 1, facing west
18       976    FBI Photographer Edward Ledda 12/16/16           JL-036094
                aerial photograph of Northern Fill Area facing
19              southwest
         977    FBI Photographer Edward Ledda 12/16/16           JL-036097
20
                aerial photograph of electric pump outflow and
21              wake
         978    FBI Photographer Edward Ledda 12/16/16           JL-036110
22              aerial photograph of electric pump outflow and
                wake, facing southeast
23       979    FBI Photographer Edward Ledda 12/16/16           JL-036084
                aerial photograph of electric pump outflow and
24              wake, facing south
         980    FBI Photographer Edward Ledda 12/16/16           JL-036083
25              aerial video of Mowry Slough from mouth to
                Newark Area 4
26       981    Inventory listing for Chase file #: SB602448-    JL-002979
                F1
27
         982    Chase Custodian Affidavit re Economy Waste       JL-002980
28              Solutions Bank Account (Attrell W. Harvey
                III)
     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                              60
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 61 of 64



 1    Number                      Description                       Bates Range    Offered   Admitted
 2
         983    JP Morgan Chase bank records for Economy          JL-002981-
 3              Waste Solutions, Inc. bank account of James       003218
                Lucero
 4       984    FBI 302, Financial Analysis: Economy Waste        JL-35746-35748
                Solutions, dated January 11, 2017 (Pascual)
 5
         985    Chase Custodian Affidavit re Economy Waste        JL-032889
 6              Solutions Bank Account (Angela Young)
 7       986    JP Morgan Chase bank records for Golden           JL-032000-
                Gate Equipment Rentals, LLC, and Kevin and        032964
 8              Janine Olivero accounts
         987    Chenoweth, CV                                     JL-034060-
 9                                                                034061
10       988    Financial Investigative Report, date July 10,     JL-35749-35763
                2017 (Chenoweth)
11
         989    FBI chain of custody form re Newark PD            JL-038911
12              video
13       990    FBI chain of custody log re black plastic         JL-038866-
                                                                  038867
14
         991    Black plastic (to be produced in court)
15

16       992    FBI chain of custody log re black plastic         JL-038868-
                                                                  038869
17
         993    Black plastic (to be produced in court)
18

19       994    FBI chain of custody log re plastic               JL-038870-
20                                                                038871

21       995    Plastic (to be produced in court)

22
         996    FBI chain of custody log re red electrical wire   JL-038872-
23                                                                038873

24       997    Red electrical wire (to be produced in court)

25
         998    FBI chain of custody log re red metal             JL-038874-
26                                                                038875

27       999    Red metal (to be produced in court)

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                                  61
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 62 of 64



 1    Number                      Description                        Bates Range   Offered   Admitted
 2
         1000   FBI chain of custody log re piece of concrete      JL-038876-
 3                                                                 038877
 4       1001   Concrete (to be produced in court)
 5
         1002   FBI chain of custody log re red brick              JL-038878-
 6                                                                 038879
 7       1003   Red brick (to be produced in court)
 8
         1004   FBI chain of custody log re white pipe             JL-038880-
 9                                                                 038881
10       1005   White pipe (to be produced in court)
11
         1006   FBI chain of custody log re yellow golf ball       JL-038882-
12                                                                 038883
13       1007   Yellow golf ball (to be produced in court)
14
         1008   FBI chain of custody log re plastic water bottle   JL-038884-
15                                                                 038885
16       1009   Plastic water bottle (to be produced in court)
17
         1010   FBI chain of custody log re piece of caution       JL-038886-
18              tape                                               038887
19       1011   Piece of caution tape (to be produced in court)
20

21       1012   FBI chain of custody log re piece of white         JL-038888-
                PVC pipe                                           038889
22
         1013   White PVC pipe (to be produced in court)
23

24       1014   FBI chain of custody log re wire                   JL-038890-
                                                                   038891
25
         1015   Wire (to be produced in court)
26

27       1016   FBI chain of custody log re blue plastic cap       JL-038892-
                                                                   038893
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                                 62
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 63 of 64



 1    Number                      Description                       Bates Range   Offered   Admitted
 2
         1017   Blue plastic cap (to be produced in court)
 3

 4       1018   FBI chain of custody log re piece of white        JL-038894-
                PVC pipe connected to piece of black PVC          038895
 5              pipe
         1019   Piece of white PVC pipe connected to piece of
 6              black PVC pipe (to be produced in court)
 7       1020   FBI chain of custody log re blue wire nut         JL-038896-
                                                                  038897
 8
         1021   Blue wire nut (to be produced in court)
 9
10       1022   FBI chain of custody log re red brick             JL-038898-
                                                                  038899
11
         1023   Red brick (to be produced in court)
12

13       1024   FBI chain of custody log re piece of white        JL-038900-
                PVC                                               038901
14
         1025   Piece of white PVC (to be produced in court)
15

16       1026   FBI chain of custody log re piece of white tile   JL-038902-
                                                                  038903
17
         1027   Piece of white tile (to be produced in court)
18

19       1028   FBI chain of custody log re three pieces of       JL-038904-
20              black construction material                       038905

21       1029   Three pieces of black construction material (to
                be produced in court)
22
         1030   FBI chain of custody log re piece of concrete     JL-038906-
23                                                                038907

24       1031   Concrete (to be produced in court)

25
         1032   FBI chain of custody re padlock and cut link      JL-038925-
26                                                                038926

27       1033   Handwritten letter from James Lucero to           JL-002195-
                ‘Shelly’                                          002196
28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                                 63
            Case 4:16-cr-00107-HSG Document 87 Filed 12/11/17 Page 64 of 64



 1

 2 DATED: December 11, 2017                         Respectfully Submitted,
 3
                                                    BRIAN J. STRETCH
 4                                                  Acting United States Attorney

 5
                                                           /s/
 6                                                  PHILIP J. KEARNEY
                                                    SHIAO LEE
 7                                                  Assistant United States Attorneys
 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     GOVT. EXHIBIT LIST
     CR 16-00107 HSG                      64
